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Exhibit A to the Declaration of Aaron S. Craig
                 April 4, 2025
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               EXHIBIT 8
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                                                                          Page 1

 1                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
 2                               OAKLAND DIVISION
 3
          - - - - - - - - - - - - - - - - -
 4                                          )
          WHATSAPP INC., a Delaware         )
 5        corporation, and META PLATFORMS, )
          INC., a Delaware corporation,     )
 6                                          )
                               Plaintiffs, )
 7                                          ) Case No.:
          v.                                ) 4:19-cv-07123-PJH
 8                                          )
          NSO GROUP TECHNOLOGIES LIMITED    )
 9        and Q CYBER TECHNOLOGIES LIMITED,)
                                            )
10                             Defendants. )
          - - - - - - - - - - - - - - - - -
11           Highly Confidential - Subject to Protective Order
12                     VIDEO DEPOSITION OF RAMON ESHKAR
13                         Tuesday, August 27, 2024
14                        Commencing: 9:17 a.m. BST
15
16                             Davis Polk & Wardwell LLP
                                 5 Aldermanbury Square
17                                  London, EC2 7HR
                                     United Kingdom
18
19
20
21
22
23
24           Court Reporter:
             Chanelle Malliff, CLR
25

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                                                   Page 14                                                      Page 16
 1   colleague.                                               1        THE WITNESS: I'm sorry?
 2     Q. Who is that colleague?                              2   BY MR. BLOCK:
 3     A. An employee of mine.                                3      Q. Why is it called white services?
 4     Q. What is that employee's name?                       4        MR. AKROTIRIANAKIS: Same objection.
 5     A.                                                     5        THE WITNESS: Actually the name was decided
 6     Q. And the surname?                                    6   before I join so I can't recall the reason.
 7     A.                                                     7   BY MR. BLOCK:
 8     Q.                      ?                              8      Q. Do you have an understanding of what makes a
 9     A. Yes.                                                9   service a white service?
10     Q. What is               s job?                       10      A. I do.
11     A. He's responsible for the customer support.         11      Q. What is that?
12     Q. Do you know                 s title?               12      A. It means that the service is being set up in
13     A. Yeah, it's VP, customer support.                   13   an anonymized way.
14     Q.              reports to you?                       14      Q. Is one of the services that defendants set up
15     A. Yes.                                               15   in an anonymized way WhatsApp?
16     Q. When did you review your understanding with        16        MR. AKROTIRIANAKIS: Objection: vague.
17              ?                                            17        THE WITNESS: Again? Again, sorry?
18     A. During my stay at the -- in Israel, like a         18   BY MR. BLOCK:
19   few days ago.                                           19      Q. What are the services that the white services
20     Q. How long was the conversation that you had in      20   department deals in?
21   preparation for this deposition with                    21      A. There are a few services.
22     A. Not more than an hour.                             22      Q. Is WhatsApp one of them?
23     Q. And what did you and                 discuss?      23        MR. AKROTIRIANAKIS: Objection: vague.
24     A. Just the processes related to this topic.          24        THE WITNESS: What?
25     Q. And by "this topic" you mean?                      25        MR. AKROTIRIANAKIS: I said "objection:
                                                   Page 15                                                      Page 17
 1     A. I mean creation, what's related to the           1      vague". If you understand his question though you
 2   opening account.                                      2      can answer.
 3     Q. On WhatsApp?                                     3           THE WITNESS: Okay. Sorry, come again?
 4     A. Yeah.                                            4      BY MR. BLOCK:
 5     Q. And why is               , as VP of customer     5         Q. Sure. Is WhatsApp one of the services that
 6   support, an appropriate person to talk to about the   6      the white services department of defendants deals
 7   processes that defendants follow related to creating  7      with?
 8   accounts on WhatsApp?                                 8           MR. AKROTIRIANAKIS: Same objection.
 9        MR. AKROTIRIANAKIS: Objection: misstates the 9               THE WITNESS: Yes, they deal with it.
10   witness's testimony.                                 10      BY MR. BLOCK:
11        THE WITNESS: I'm sorry?                         11         Q. Okay, tell me how the white services
12        MR. AKROTIRIANAKIS: If you understand his       12      department -- so, withdrawn.
13   question you can answer.                             13           Does the white services department set up
14        THE WITNESS: Can you please repeat?             14      WhatsApp accounts in an anonymized way?
15   BY MR. BLOCK:                                        15         A. They do.
16     Q. Is creating accounts on WhatsApp part of        16         Q. And what does it -- what do you mean by in
17                job.                                    17      an anonymized way?
18     A. No, it's part of one of his department's job.   18         A. It means that they're created in a way that
19     Q. Which department is that?                       19      will be secure an obstacle where -- to the use of the
20     A. The white services department.                  20      service later on.
21     Q. What is the white services department?          21         Q. What do you mean by secure?
22     A. It's a department responsible for creating      22         A. I mean that the infrastructure will protect
23   accounts and purchasing other services that we need. 23      the customer when using the account.
24     Q. Why is it called white services?                24         Q. Does that mean protect the customer from
25        MR. AKROTIRIANAKIS: Objection: foundation. 25           having its identity discovered?

                                                                                                  5 (Pages 14 - 17)
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                                                   Page 18                                                             Page 20
 1      A. What do you mean by his identity?                  1   testimony.
 2         MR. AKROTIRIANAKIS: Sorry, is this a               2        THE WITNESS: By another one.
 3   realtime tablet? It's not working.                       3   BY MR. BLOCK:
 4         (Pause)                                            4      Q. By another one? Someone other than the
 5   BY MR. BLOCK:                                            5   customer who is operating the service and NSO itself?
 6      Q. Why do your -- is it accurate that your            6        MR. AKROTIRIANAKIS: Objection: misstates
 7   customers want their WhatsApp accounts to be set up      7   testimony.
 8   in an anonymized way?                                    8   BY MR. BLOCK:
 9         MR. AKROTIRIANAKIS: Objection: no                  9      Q. Correct?
10   foundation.                                             10      A. The customer.
11         THE WITNESS: What do you mean?                    11      Q. Someone other than the customer?
12   BY MR. BLOCK:                                           12      A. Someone other than the customer.
13      Q. I'm asking why you set up anonymized WhatsApp     13      Q. Do you create the WhatsApp services for the
14   accounts for your customers?                            14   customer in a way that can be traced back to NSO?
15      A. The entire infrastructure is anonymized to        15        MR. AKROTIRIANAKIS: Objection: vague.
16   protect the customer and the infrastructure that        16        THE WITNESS: What do you mean by "can be
17   they're using.                                          17   traced back"?
18      Q. Is that to protect the customer from being        18   BY MR. BLOCK:
19   identified?                                             19      Q. So that another can identify NSO as the
20         MR. AKROTIRIANAKIS: Objection: vague.             20   entity that created the WhatsApp account?
21         THE WITNESS: What do you mean by identified?      21      A. So the question is?
22   BY MR. BLOCK:                                           22        MR. AKROTIRIANAKIS: Object to the form of
23      Q. Let me just ask you. In what regard are you       23   the question.
24   trying to protect the customer by anonymizing the       24   BY MR. BLOCK:
25   WhatsApp service?                                       25      Q. Do you create the WhatsApp services for the
                                                   Page 19                                                             Page 21
 1      A. We want to [Hebrew] to.                            1   customer in a way that can be traced back to NSO?
 2         MR. BLOCK: May we have help from the               2        MR. AKROTIRIANAKIS: Object to the form of
 3   translators, please?                                     3   the question. Vague.
 4         THE INTERPRETER: Distance. We would like to        4        THE WITNESS: We create services in
 5   distance.                                                5   an anonymous way.
 6         THE WITNESS: Would like to distance --             6   BY MR. BLOCK:
 7   I'm not so sure it's the word, but to, let's say,        7     Q. Anonymous for the customer and anonymous for
 8   distance the customer.                                   8   NSO; is that right?
 9   BY MR. BLOCK:                                            9        MR. AKROTIRIANAKIS: Objection: misstates
10      Q. From whom?                                        10   testimony.
11      A. From the environment so that they can run         11        THE WITNESS: Anonymous mean anonymous, so in
12   their operation in a secured way, not to expose their   12   an anonymous way.
13   operation.                                              13   BY MR. BLOCK:
14      Q. You also said you create the accounts in a        14     Q. Okay, so why don't we start at the beginning.
15   way that will be "op sec aware" to the use of the       15   In what circumstance will NSO create an anonymized
16   service later on. Did I get that right?                 16   WhatsApp account?
17      A. Op sec, operational security.                     17     A. In what ways?
18      Q. Okay, and what does it mean to be op sec          18     Q. When does it happen?
19   aware to the use of the service later on?               19     A. When does it happen. Okay. Either for
20      A. What I mean is that you apply all the measure     20   demonstrations, for real system, customer systems.
21   that you can in order to protect the activity, the      21    (Reporter clarification.)
22   operation.                                              22    For real systems.
23      Q. And that's again to protect it from being         23     Q. Real systems, is that what you said?
24   discovered by third parties?                            24     A. Systems that are being used by the customer.
25         MR. AKROTIRIANAKIS: Objection: misstates          25     Q. So just to clarify my record because we had

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 1   some cross talk, which I appreciate. Let me ask the      1   requested, and provide it back.
 2   question again, is that okay?                            2      Q. Okay, I want to focus on the part of the
 3      A. Please.                                            3   process where they create the account as requested.
 4      Q. In what circumstances will NSO create              4   What happens step-by-step?
 5   anonymized WhatsApp accounts?                            5         MR. AKROTIRIANAKIS: Objection: no
 6      A. So for the use of demonstration, to set up a       6   foundation.
 7   customer system, and for internal use mainly for         7         THE WITNESS: So I'm not creating the
 8   testing.                                                 8   account -- the accounts myself, so I gave a general
 9      Q. Is the internal use research and development?      9   description of that, okay? So for example they're
10      A. Yes, all preparation for demo training.           10   being asked to provide one account so the relevant
11      Q. Okay, let's focus on the research and             11   employee will create the account, like anyone
12   development use case. Has NSO in fact created           12   creating a WhatsApp account, follow the same steps,
13   anonymized WhatsApp accounts for its own use for        13   and provide the details to the one that asked it.
14   research and development?                               14   BY MR. BLOCK:
15         MR. AKROTIRIANAKIS: Objection. It's beyond        15      Q. Will the relevant employee when creating this
16   the scope of this witness's designation. We have        16   account use a real name?
17   another designee for that. If you know the answer to    17      A. He will use a name. It can be like two
18   the question you can answer in your personal            18   letters. It can be something else.
19   capacity.                                               19      Q. Is this done on a mobile interface or a web
20         THE WITNESS: In that sense we provide a           20   interface, or in some different way?
21   service to our colleagues. So we are being asked to     21      A. In most cases it is being done by mobile.
22   provide, and we provide.                                22      Q. So let me see if I understand. The employee
23         MR. BLOCK: Joe, who will be the witness on        23   on               team will download a WhatsApp mobile
24   that?                                                   24   application on to a mobile device and register a
25         MR. AKROTIRIANAKIS:                               25   WhatsApp account, is that accurate?
                                                   Page 23                                                       Page 25
 1   BY MR. BLOCK:                                            1      A. In most of the cases, yes.
 2      Q. When you say provide a service to colleagues,      2      Q. And in doing so that NSO employee will follow
 3   which colleagues are you talking about?                  3   the normal WhatsApp process for registration through
 4      A. I wanted to refer to R&D as a department. So       4   the WhatsApp application downloaded from
 5   when they approach my department, and my department      5   an application store; is that accurate?
 6   provide them with the account that they're asking.       6        MR. AKROTIRIANAKIS: Objection: vague.
 7      Q. And specifically               s department        7        THE WITNESS: He will follow the steps it
 8   within your department provides that account?            8   need in order to create the account.
 9      A. Correct.                                           9   BY MR. BLOCK:
10      Q. Okay, and how does that happen?                   10      Q. However they'll use a fake name, is that
11        MR. AKROTIRIANAKIS: Objection: no                  11   accurate?
12   foundation.                                             12        MR. AKROTIRIANAKIS: Objection: misstates
13   BY MR. BLOCK:                                           13   testimony.
14      Q. Let me pull back. You spoke with                  14        THE WITNESS: They will put a name.
15   to confirm the processes that defendants used to        15   BY MR. BLOCK:
16   create these anonymized accounts as part of your        16      Q. A name that is not the real name of the
17   preparation to testify today; is that right?            17   person creating the account or of the person who
18      A. I discussed with      my understanding of the     18   requested it; correct?
19   processes to make sure that I am ready for this         19      A. Not the name of the one creating and not the
20   session.                                                20   one that -- the one receiving.
21      Q. Please explain the process of setting up          21      Q. Is there any special process for deciding
22   an anonymized WhatsApp account at NSO?                  22   what name to use?
23      A. So we get a request. The team that                23      A. No.
24   responsible for the creation of the accounts get a      24      Q. Okay. Why does a relevant employee create
25   request, and they follow, create the accounts as        25   the account instead of the colleague creating it

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 1   he is an employee of mine. And the other were               1   timelines before, right? So I know that we have
 2   related to what we are talking now.                         2   created during the EU but not specifically a date
 3      Q. Okay. Did you discuss any other topics with           3   within.
 4               that were specifically to prepare for your      4   BY MR. BLOCK:
 5   testimony today besides the WhatsApp account creation       5      Q. And you know you created anonymized WhatsApp
 6   topics?                                                     6   accounts for customers -- strike that.
 7      A. That was the main -- the main topic. We also          7     You know that defendants created anonymized
 8   covered other topics such as training.                      8   WhatsApp accounts for use by customers in 2024;
 9      Q. Any others?                                           9   correct?
10      A. Maybe. It's like a normal call between us so         10         MR. AKROTIRIANAKIS: Objection: no
11   I don't remember them all but --                           11   foundation. Also beyond the scope of the designation
12      Q. I'm just trying to discover what information         12   of this witness.
13   you received from              for purposes of             13         THE WITNESS: I would say for customers.
14   testifying today. So you discussed training. We'll         14   BY MR. BLOCK:
15   talk about that in a moment.                               15      Q. You did it for customers or you did it for
16      A. Sure.                                                16   four customers?
17      Q. Can you think of any others that you                 17         MR. AKROTIRIANAKIS: Object to the form of
18   discussed with him to prepare for your testimony?          18   the question.
19      A. Again, it was more to, in a way, just make           19   BY MR. BLOCK:
20   sure that I'm up to speed from my perspective because      20      Q. Let me just ask my question again. You know
21   I am aware of those processes anyway, so I just            21   that defendants created anonymized WhatsApp accounts
22   wanted to make sure I'm aligned.                           22   for use by defendants' customers during calendar year
23      Q. What did you discuss about training?                 23   2024; is that correct?
24      A. You know like the agenda, the duration,              24         MR. AKROTIRIANAKIS: Objection: no
25   things like that.                                          25   foundation. Also beyond the scope of the designation
                                                      Page 39                                                       Page 41
 1      Q. Of a particular training?                        1        of this witness.
 2      A. No, in general.                                  2             THE WITNESS: I'm not sure it's correct.
 3      Q. Okay. What is the agenda and duration of         3        BY MR. BLOCK:
 4   training in general that you discussed with            4           Q. When is the most recent occasion of which you
 5                                                          5        were aware when defendants created anonymized
 6      A. It's like a four-days training that will be      6        WhatsApp accounts for use by one of defendants'
 7   the average. Some will be less, some will be more.     7        customers?
 8      Q. Is this training for customers or training       8             MR. AKROTIRIANAKIS: Objection: no
 9   for NSO employees or something different?              9        foundation. Also beyond the scope of the designation
10      A. For customers.                                  10        of this witness.
11      Q. Do defendants train customers to create         11             THE WITNESS: I don't have a specific date in
12   anonymized WhatsApp accounts?                         12        mind.
13      A. No, we do not train. To the best of my          13        BY MR. BLOCK:
14   recollection we do not do that.                       14           Q. Do you know whether that occurred in 2018?
15      Q. But defendants do create anonymized WhatsApp    15             MR. AKROTIRIANAKIS: Objection: no
16   accounts for use by customers; is that accurate?      16        foundation.
17      A. We do create accounts for the customers.        17             THE WITNESS: In 2018 the department wasn't
18      Q. And when is the most recent occasion when       18        under my responsibility.
19   defendants created an anonymized WhatsApp account for 19        BY MR. BLOCK:
20   use by a customer of which you are aware, sir?        20           Q. Do you know whether it occurred in 2019?
21        MR. AKROTIRIANAKIS: Objection: no                21             MR. AKROTIRIANAKIS: Same objection.
22   foundation. Hold on, I've got to object first. No     22             THE WITNESS: Same they were not part of my
23   foundation and it's beyond the scope of the           23        department in 2019.
24   designation of this witness.                          24        BY MR. BLOCK:
25        THE WITNESS: I think we talked about the         25           Q. Do you know whether it occurred in 2020?

                                                                                                    11 (Pages 38 - 41)
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 1   roughly two years ago maybe. Time flies but more or       1   correctly.            I think.
 2   less.                                                     2      Q. So you knew              before you joined NSO but
 3      Q. As a director were you director of client           3   only learned after you joined NSO that            was
 4   executive, is that how you say it?                        4   also employed there?
 5      A. Yes.                                                5      A. (Witness nods).
 6      Q. And then you became VP client executive?            6      Q. Okay.
 7      A. Correct.                                            7      A. During the process, not after. During the
 8      Q. And now SVP client executive?                       8   process.
 9      A. No, I'm SVP for what we called the CBD. It's        9      Q. Fair enough. Do you work in a particular
10   actually the customer based division.                    10   physical location for NSO, your office?
11      Q. Customer base division?                            11      A. Yes.
12      A. We call it customer base division.                 12      Q. Tel Aviv?
13      Q. Business?                                          13      A. Herzliya.
14      A. Division.                                          14        MR. AKROTIRIANAKIS: H-E-R-Z-L-I-Y-A in
15      Q. Okay. And that includes client executive as        15   English.
16   one of the departments within your purview?              16   BY MR. BLOCK:
17      A. Indeed.                                            17      Q. Do you travel on business for NSO?
18      Q. Okay. How did you come to work for NSO?            18      A. Yeah, I travel.
19         MR. AKROTIRIANAKIS: Objection: vague.              19      Q. Have you traveled to the United States on
20         THE WITNESS: Can you please repeat or              20   business for NSO?
21   explain?                                                 21      A. No, not that I recall.
22         MR. AKROTIRIANAKIS: Do you want it in              22      Q. How do you communicate with your co-workers
23   Hebrew? That's an English way of speaking. Do you        23   for business purposes?
24   understand his question?                                 24        MR. AKROTIRIANAKIS: Objection: vague.
25         THE WITNESS: I'm not sure.                         25        THE WITNESS: How do I --
                                                    Page 63                                                         Page 65
 1   BY MR. BLOCK:                                             1   BY MR. BLOCK:
 2      Q. Let me try to ask... How were you introduced        2      Q. Communicate?
 3   to the opportunity to work at NSO?                        3      A. We talk. We meet. We use phone calls.
 4      A. NSO made contact.                                   4      Q. You meet in person?
 5      Q. Who at NSO made contact?                            5      A. Yeah, we meet in person.
 6      A. I don't remember the lady from HR at the time       6      Q. You use the telephone?
 7   but --                                                    7      A. We use the telephone.
 8      Q. Someone in a recruiting function?                   8      Q. Videoconferencing?
 9      A. Yes.                                                9      A. We use videoconferencing.
10      Q. Reached out to you over LinkedIn or email?         10      Q. Do you communicate with your co-workers at
11      A. She reached out via LinkedIn and then a phone      11   NSO using email?
12   call.                                                    12      A. Yes.
13      Q. Before you started that application process,       13      Q. And do you communicate with your co-workers
14   did you know anybody at NSO?                             14   at NSO using messaging services?
15      A. I came aware of the fact that there is             15      A. Yes.
16   someone that I know at NSO after, okay. I didn't         16      Q. Which messaging services do you use for
17   know in advance that he works there.                     17   business purposes at NSO?
18      Q. I understand. Who is that person?                  18      A. What do you mean for business purposes like
19      A.                                                    19   our communication between employees of the company?
20      Q.           is a first name or a last name?          20      Q. Yes.
21      A. Yeah, a first name.                                21      A. We use the various types of popular IMs.
22      Q.                                                    22      Q. Such as?
23      A. Yes.                                               23      A. Such as Signal.
24      Q. Last name?                                         24      Q. Any others?
25      A.               I'm not sure I'm spelling it         25      A. Yeah, can be WhatsApp. Can be WebEx.

                                                                                                    17 (Pages 62 - 65)
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 1      Q. Do you have a smartphone?                       1     before I joined so I just kept the same account.
 2      A. Yes.                                            2        Q. Have you ever used a white services
 3      Q. What kind is it?                                3     anonymized WhatsApp account yourself?
 4      A. Samsung.                                        4        A. No, not that I recall.
 5      Q. Did NSO provide that smartphone to you?         5        Q. Do you know whether NSO generally provides
 6      A. So I'm not so sure what -- I don't want to      6     smartphones to all of its employees?
 7   confuse the legal terms here. From one side they do,  7           MR. AKROTIRIANAKIS: Objection: foundation.
 8   and the other side there is something with the like   8           THE WITNESS: As much as that they were
 9   we buy it. So I don't want what's the right term to   9     provided to some of our employees.
10   use, but at the end of the day I get it from the     10     BY MR. BLOCK:
11   company. But there is something in the background    11        Q. Do you know where the line is drawn who gets
12   with regards to the taxation or something like that  12     smartphones and who doesn't?
13   with regards to giving to someone a phone.           13           MR. AKROTIRIANAKIS: Objection: no
14      Q. Did you go to a store and purchase the         14     foundation.
15   device?                                              15           THE WITNESS: I don't know in other
16      A. No.                                            16     departments. I know for my department.
17      Q. Did NSO hand the device to you?                17     BY MR. BLOCK:
18      A. Yes.                                           18        Q. So tell me for your department?
19      Q. Does NSO pay for the service on the device?    19        A. For my department we provide phones.
20      A. Yes.                                           20        Q. And that includes everyone in the white
21      Q. In -- has that been your arrangement ever      21     services department?
22   since you joined NSO in 2015?                        22        A. Yes.
23        MR. AKROTIRIANAKIS: Objection: vague.           23        Q. Okay. And --
24        THE WITNESS: My arrangement you mean for the 24           A. An employee might choose not to have a phone
25   phone to be provided?                                25     so I don't know if right now at this moment all of
                                                  Page 67                                                      Page 69
 1   BY MR. BLOCK:                                           1   them with a phone that we have provided, but they do
 2      Q. Yes.                                              2   have this option.
 3      A. Yeah, it was the same when I joined.              3      Q. Okay. Have you ever sent a WhatsApp message
 4      Q. So for as long as you have been an NSO            4   other than through the WhatsApp client application on
 5   employee, NSO has provided you with a phone to use      5   a mobile device?
 6   for work and paid for the service; correct?             6         MR. AKROTIRIANAKIS: Objection: foundation.
 7         MR. AKROTIRIANAKIS: Objection: no                 7         THE WITNESS: Just to make sure, have I ever
 8   foundation.                                             8   sent a WhatsApp messages not using the phone?
 9         THE WITNESS: The moment I left the army and       9   I've used the web interface, if this is what you
10   started, every company provided a phone.               10   mean, but not more than that, so it's coming out from
11   BY MR. BLOCK:                                          11   my phone.
12      Q. Okay. Did you download a WhatsApp                12   BY MR. BLOCK:
13   application on to that phone?                          13      Q. Okay. And when you have used the web
14      A. I have.                                          14   interface you logged in with your personal WhatsApp
15      Q. And do you use that for business purposes at     15   credentials, which are the same ones associated with
16   NSO?                                                   16   the WhatsApp application on your smartphone; is that
17      A. What do you mean by business purposes?           17   accurate?
18      Q. To engage in business-related communications?    18         MR. AKROTIRIANAKIS: Objection: foundation.
19      A. Yes.                                             19   Vague. Compound.
20      Q. Did you set up that WhatsApp account             20         THE WITNESS: Just operated a web interface
21   yourself?                                              21   using the barcode scanning.
22      A. Yes.                                             22   BY MR. BLOCK:
23      Q. Do you recall going through the regular          23      Q. Barcode scanning, okay. You haven't operated
24   registration process?                                  24   the emulator that we discussed earlier to send a
25      A. Yes, it was long ago. I think I had it even      25   WhatsApp message; correct?

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 1      A. Correct.                                         1   conclusion, it's Beyond the scope of the designation
 2      Q. Have you observed operation of the emulator      2   of this witness.
 3   to send a WhatsApp message?                            3   BY MR. BLOCK:
 4      A. Not that I recall.                               4      Q. So the question was you would understand that
 5      Q. Okay. Do you know whether the emulator is        5   agreeing to the terms of service -- strike that.
 6   capable of sending WhatsApp messages?                  6     The question was, you would understand that if
 7         MR. AKROTIRIANAKIS: Objection: foundation.       7   agreeing to the WhatsApp terms of service is a normal
 8         THE WITNESS: If I'm aware that what?             8   step required in order to establish the account, then
 9   BY MR. BLOCK:                                          9   that's a step that the white services department
10      Q. Whether the emulator that we discussed          10   employees take; correct?
11   earlier is capable of sending WhatsApp messages?      11         MR. AKROTIRIANAKIS: All of the same
12         MR. AKROTIRIANAKIS: Same objection.             12   objections and, as phrased, it's also an incomplete
13   Foundation.                                           13   hypothetical.
14         THE WITNESS: I would understand it does.        14         THE WITNESS: They would follow the steps in
15   BY MR. BLOCK:                                         15   order to establish the account, so.
16      Q. Do you have knowledge of the extent to which    16   BY MR. BLOCK:
17   defendants personnel have agreed to the WhatsApp      17      Q. You're not aware of any way in which the
18   terms of service?                                     18   white services department personnel deviate from the
19         MR. AKROTIRIANAKIS: Objection: calls for a      19   normal process for establishing a WhatsApp account
20   legal conclusion. No foundation. Also beyond the      20   when they set up anonymized WhatsApp accounts for
21   scope of the designation of this witness.             21   defendants?
22         THE WITNESS: I'm not sure I follow.             22         MR. AKROTIRIANAKIS: Objection: foundation;
23   BY MR. BLOCK:                                         23   vague; beyond the scope of the designation of this
24      Q. Okay. We talked about the process that the      24   witness.
25   white services department uses when it creates        25         THE WITNESS: I'm not sure I can answer that.
                                                 Page 71                                                             Page 73
 1   anonymized accounts. Do you remember that?            1    BY MR. BLOCK:
 2      A. Yes, I do.                                      2      Q. Okay.
 3         MR. AKROTIRIANAKIS: Objection: misstates his 3          (Exhibit 2002 marked for identification.)
 4   testimony.                                            4        Mr. Eshkar, you've been handed a document
 5   BY MR. BLOCK:                                         5    that's been marked Exhibit 2002. It's dated
 6      Q. Do you know whether or not the white services   6    March 25, 2019 and bears the Bates stamp
 7   department employees agreed to WhatsApp terms of      7    DIVITTORIO_WHATSAPP_[a bunch of zeros and then]65.
 8   service when they create anonymized accounts?         8      A. Okay.
 9         MR. AKROTIRIANAKIS: Objection: foundation,      9      Q. Do you recognize this document?
10   vague, and it calls for a legal conclusion. It's     10      A. I do not recall this document.
11   also beyond the scope of the designation of this     11      Q. Okay. Under "Other Recipients", on the
12   witness.                                             12    bottom line, do you see where it says
13         THE WITNESS: They established the account so   13
14   they follow the steps required in order to establish 14      A. Yeah, I see that.
15   the account.                                         15      Q. Is that your MSISDN?
16   BY MR. BLOCK:                                        16      A. It is my phone number.
17      Q. So you would understand if agreeing to the     17      Q. Have you used the same phone number for
18   terms of services is a normal step, then that's a    18    WhatsApp since you joined NSO in 2015?
19   step that they take?                                 19      A. I haven't changed my number.
20      A. No --                                          20      Q. Have you ever used a different phone number
21         MR. AKROTIRIANAKIS: Objection --               21    for WhatsApp in NSO-related business communications?
22         MR. BLOCK: Did you say "no"?                   22      A. I'm not sure I follow. If I have another
23         MR. AKROTIRIANAKIS: Hold on, I get to make a 23      device?
24   record too. Objection: it misstates his testimony,   24      Q. Correct.
25   no foundation, it's vague and it calls for a legal   25      A. I have another device.

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 1         MR. AKROTIRIANAKIS: Objection: foundation.         1      Q. Is the client executive team involved in
 2         THE WITNESS: I don't know how successful he        2   original contracts for new customers?
 3   was in that time but it was his job to do that.          3      A. What's original contracts?
 4   BY MR. BLOCK:                                            4      Q. You just talked about contract renewal?
 5      Q. Okay. Who at NSO supervised Mr. DiVittorio's       5      A. That's right.
 6   work?                                                    6      Q. A brand new contract for a new customer,
 7         MR. AKROTIRIANAKIS: Objection: foundation.         7   instead of a renewal?
 8   Assumes facts not in evidence.                           8      A. Okay.
 9      A. I don't know who was responsible to                9      Q. Is the client executive team involved in
10   supervise.                                              10   negotiating and executing a new contract for a new
11   BY MR. BLOCK:                                           11   customer?
12      Q. Okay. You had a client executive's role at        12      A. They will not be -- general they will not be
13   this time in 2019 that we're looking at on              13   involved in what we call a new customer or a new
14   Exhibit 2002; correct?                                  14   logo, so this process is led by sales.
15      A. Yes, at that time I was, yes.                     15      Q. Referring back to Exhibit 2002. Do you know
16      Q. Did your job responsibilities include             16   who sent the message that's written here as from
17   anything to do with the US market?                      17              and then a phone number?
18      A. No, we were to provide the needed help to the     18      A. I'm trying to look at the upper side of the
19   team at the US, not to anyone else.                     19   document but also there I don't see -- I don't think
20      Q. Does the client executive team at NSO work on     20   I know -- I don't recall this name.
21   sales?                                                  21      Q. Do you recall who is
22         MR. AKROTIRIANAKIS: Objection: vague.             22      A. I do.
23         THE WITNESS: We need to define sales              23      Q. Who is
24   actually.                                               24      A. He was a salesperson.
25   BY MR. BLOCK:                                           25      Q. Was he an NSO employee?
                                                   Page 79                                                        Page 81
 1      Q. Here's my understanding and I'm going to ask       1        MR. AKROTIRIANAKIS: No foundation.
 2   you to give it in your own words. It sounds like you     2        THE WITNESS: Again I don't know who his
 3   would support a demonstration, help the sales team       3   contract were with so.
 4   who needed you to come do a demonstration, and then      4   BY MR. BLOCK:
 5   also support install systems but you weren't sales       5      Q. And do you know if                     had sales
 6   people per se. I don't know if that's right. What        6   responsibility in a particular geography?
 7   was the relation -- so here's my question to you.        7        MR. AKROTIRIANAKIS: Objection: foundation.
 8        What was -- what is the relation between the        8        THE WITNESS: To the best of my knowledge he
 9   client executive team at NSO and the sales               9   was responsible for Latin America at the time, but
10   organization at NSO today?                              10   since he wasn't my employee so I don't know if he was
11        MR. AKROTIRIANAKIS: Objection: foundation.         11   assigned to additional areas but this is my
12   Also vague.                                             12   understanding.
13        THE WITNESS: Who do you mean by relations?         13   BY MR. BLOCK:
14   They work together. In general terms the client         14      Q. Okay. In the first message in the table in
15   executive's job are -- is to execute the contract       15   Exhibit 2002, on the third line, do you see where it
16   once done and maintain the relationship with the        16   says "PGS"?
17   customer, to represent the customer within -- sorry     17      A. Yes, I see.
18   the company within the customer area and vice versa.    18      Q. Do you understand that to be shorthand for
19   As a result there might be aware to what we call        19   Pegasus?
20   an app sale opportunity, which in that case they will   20      A. In general we use PGS as Pegasus.
21   bring this information to the sales team which takes    21      Q. In the next line Mr. DiVittorio says -- he
22   the commercial responsibility from that moment on.      22   uses the letter CL. Do you see that?
23   And they will be responsible for the renewal of the     23      A. Yes.
24   contracts once they're done.                            24      Q. Do you understand that to refer to
25   BY MR. BLOCK:                                           25   Citizen Lab?

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 1          MR. AKROTIRIANAKIS: Objection: foundation.                      1   it goes on the left. Yes, sorry, yes I see my
 2          THE WITNESS: I am aware that CL stands for                      2   number.
 3   Citizen Lab. I'm not sure if this is in the context                    3      Q. Okay. So do you recognize Exhibit 2003 as
 4   of that particular document, so I can take the time                    4   a WhatsApp communication that you were included on in
 5   to read it but --                                                      5   January 2019?
 6     Q. Not necessary.                                                    6        MR. AKROTIRIANAKIS: Objection: foundation.
 7     A. I do know that we do use CL as Citizen Lab.                       7        THE WITNESS: I can see my name as part of
 8     Q. "We", NSO?                                                        8   the communication presenting to me.
 9     A. Generally.                                                        9   BY MR. BLOCK:
10     Q. Yes. Do you know who -- and again please                         10      Q. Do you remember this communication?
11   forgive my pronunciation --                           is?             11      A. Can I take a moment to read it?
12     A. I do.                                                            12      Q. Yes. (Pause).
13     Q. Who is that?                                                     13      A. I don't recall the specific communication.
14     A.          used to work at NSO as a -- well, she                   14      Q. On the second page do you see the name
15   had several roles so I'm not so sure on that                          15
16   particular date. What the date here? 2018. So,                        16      A. Yes, I do.
17   from overall responsibility of sales to what we call                  17      Q. Do you know who                    is?
18   at the time CBO, which is chief business officer.                     18      A. Yes, I do.
19      (Exhibit 2003 marked for identification.)                          19      Q. Who is that?
20          MR. AKROTIRIANAKIS: Maybe you can state what                   20      A.                is a former employee of NSO.
21   comprises the document?                                               21      Q. What did                 do for NSO?
22          MR. BLOCK: Did I give you something other                      22      A. At the time that I knew          he was -- at
23   than 58 and 59?                                                       23   the end of it he was responsible for the pre-sale
24          (Off the record discussion).                                   24   team. I just don't remember if he was a team manager
25   BY MR. BLOCK:                                                         25   and then managed the pre-sales team, but, anyway, he
                                                                 Page 83                                                       Page 85
 1       Q.               you've been handed Exhibit 2003,                  1   was in the pre-sales team.
 2   which is dated January 31, 2019 and is Bates stamped                   2     Q. What does pre-sales do?
 3   DiVittorio_WhatsApp_00000058. It's a two-page                          3        MR. AKROTIRIANAKIS: Objection: foundation.
 4   document that also includes the page numbered 59?                      4        THE WITNESS: They support sales process.
 5       A. The page 59?                                                    5   BY MR. BLOCK:
 6       Q. Yeah, the Bates numbered page 58 --                             6     Q. Do you know who                    s?
 7       A. Yes, sorry, got it.                                             7     A. Yes.
 8       Q. Do you understand Exhibit 2003 to be a record                   8     Q. Who is
 9   of a WhatsApp communication?                                           9     A. Also a former employee of NSO.
10          MR. AKROTIRIANAKIS: Objection: foundation.                     10     Q. In what role?
11          THE WITNESS: I can see it's a communication.                   11        MR. AKROTIRIANAKIS: No foundation.
12   BY MR. BLOCK:                                                         12        THE WITNESS: If my memory serves me well she
13       Q. And the third line on the document says:                       13   was the private assistant -- Personal Assistant of
14   "Application: WhatsApp"?                                              14
15       A. Sorry, what?                                                   15   BY MR. BLOCK:
16       Q. The third line on the first page of the                        16     Q. How about
17   document says "Application: WhatsApp". Do you see                     17     A. Yes, I know
18   that?                                                                 18     Q. And who is
19       A. Yes, I see that.                                               19     A.       is an employee of NSO.
20       Q. And under "Other Recipients", do you see your                  20     Q. What does she do?
21   phone number and name on the fourth line?                             21     A. She runs the department of what we call sales
22       A. The fourth line. It's not my phone number.                     22   operation.
23       Q.                   is not your phone number?                    23     Q. What does sales operations do generally?
24       A. It is but the number unless -- let me see it.                  24        MR. AKROTIRIANAKIS: Objection: foundation.
25   It's like      - ah, no, it's the other one. Sorry,                   25        THE WITNESS: The way that I'm familiar with

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 1   the department job is that they were unfocused.             1      Q. And what -- I realize it's in Hebrew but
 2   BY MR. BLOCK:                                               2   could you explain to me in English what the first
 3      Q. Who is                                                3   sentence of the message says?
 4      A.        is a former employee of NSO.                   4      A. It looks like it's either misprinted or
 5      Q. In what role?                                         5   because of right to left and left to right. So do
 6      A. Sales.                                                6   you think there is any way to get like sorted to the
 7      Q. Do you know what geography or customers               7   right side, because I think there is a mismatch at
 8   was responsible for?                                        8   the beginning. Do you have like the soft copy? Can
 9      A. He shifted a lot.                                     9   you like --
10      Q. Do you happen to know what he was doing in           10      Q. This is how it was produced to us. So you're
11   January 2019?                                              11   not able to read the Hebrew from right to left?
12         MR. AKROTIRIANAKIS: Objection: foundation.           12      A. I can read the Hebrew.
13         THE WITNESS: Specifically '19 I do not               13      Q. Why don't you just read the Hebrew for me,
14   recall.                                                    14   just the first sentence up to the ellipsis, the three
15   BY MR. BLOCK:                                              15   dots. And I would just ask the interpreters if
16      Q. Okay. Who is                   ?                     16   they're able to interpret what you read to me.
17      A.                  is a former employee of NSO.        17         MR. AKROTIRIANAKIS: You're asking him to
18      Q. In what role?                                        18   read it in Hebrew?
19      A. Sales as well.                                       19         MR. BLOCK: Yes, please read in Hebrew to the
20      Q. And do you know what                    s            20   interpreter.
21   responsibilities were in January 2019?                     21         MR. AKROTIRIANAKIS: You want him to read it
22         MR. AKROTIRIANAKIS: Objection: foundation.           22   from left to right for the record?
23         THE WITNESS: He was part of the sales team           23         MR. BLOCK: No, I believe it reads from right
24   of the -- again if I remember correctly the African        24   to left.
25   region. At the end of it he managed the region.            25      A. Right to left.
                                                      Page 87                                                      Page 89
 1   I don't remember if he managed it from the early            1       Q. Are you able to?
 2   beginning of his arrival or later on during his work        2       A. I can read it but I think like it will not
 3   at NSO.                                                     3   make -- I can do it, right, but --
 4   BY MR. BLOCK:                                               4       Q. It won't make sense?
 5      Q. Okay. Do you know who                                 5       A. I don't think because you need to move it to
 6           is? She's the last name under "other                6   the right and I think because of the -- how do you
 7   recipients"?                                                7   call it, the star?
 8      A. She's the last name. The last name confuse            8       Q. The asterisk?
 9   me but if I'm not -- if this is who I think she is          9       A. Yes, the asterisk. I think, right, it's --
10   then she was a sales -- sales. She was doing sales,        10   I can read it. It's Hebrew, I can read it, but --
11   salesperson.                                               11       Q. Are you able to get the sense of the first
12      Q. And do you recall the scope of her                   12   sentence from looking at it in Hebrew notwithstanding
13   responsibilities?                                          13   the problems that you're describing?
14         MR. AKROTIRIANAKIS: Objection: vague.                14          MR. AKROTIRIANAKIS: Objection: foundation.
15   Foundation.                                                15          THE WITNESS: It's not.
16         THE WITNESS: Again if I am correct she was           16   BY MR. BLOCK:
17   doing sales. Later on she was doing marketing              17       Q. You should read the left word first, the left
18   I think. I might be wrong.                                 18   most word first and then --
19   BY MR. BLOCK:                                              19       A. Yeah but it's like -- if only move to the
20      Q. Okay. The first message on Exhibit 2003 from         20   right I wouldn't bother you but I think that because
21                          is in Hebrew. Do you see that?      21   of the Hebrew to English part it got -- okay,
22      A. I do.                                                22   I'll try. Let's do it like that.
23      Q. I believe the second word is [Hebrew: ayin           23          So the first sentence?
24   dalet nun] which is Eden; is that correct?                 24       Q. Please.
25      A. It is correct.                                       25       A. So just give me a moment. I give just

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 1   record so we can move on. I think I'm referring to     1       let me ask a question.
 2   something from the transcript not from the order. Do   2       BY MR. BLOCK:
 3   we need to go off the record?                          3          Q. What were defendants' vectors for zero-click
 4         MR. AKROTIRIANAKIS: We can go off the record 4           installation of Pegasus in 2015?
 5   or on the record I'm trying to explain the legal       5             MR. AKROTIRIANAKIS: Objection: no
 6   issue to my client. It's up to you.                    6       foundation.
 7         MR. BLOCK: How much time do you need?            7             THE WITNESS: So it's way back but I would
 8         MR. AKROTIRIANAKIS: I'm trying to explain it     8       say there were both what we called triggered
 9   to my client.                                          9       capabilities and covert capabilities.
10         MR. BLOCK: Let's go off the record.             10       BY MR. BLOCK:
11         VIDEOGRAPHER: Going off the record. The         11          Q. Triggered and covert?
12   time is 1:02.                                         12          A. Yes.
13               (A short break)                           13          Q. What were the covert capabilities in 2015?
14         VIDEOGRAPHER: On the record. The time is        14             MR. AKROTIRIANAKIS: No foundation. And to
15   13:10. Thank you.                                     15       the extent you're -- this is beyond the scope of the
16         MR. AKROTIRIANAKIS: So, I think that you're 16           designation, just so that's clear. I don't think
17   either misrecalling or misstating the court's         17       that you're intending to ask this as part of the
18   comments but in any event what you're referring to    18       30(b)(6) but I want to be clear he's not being
19   does not find its way into this order. However,       19       designated for this. Another witness would be.
20   I think that you can ask some questions that relate   20             THE WITNESS: So again I don't recall the
21   to the subject that you're getting at. But I don't    21       various specific vectors but there were vectors.
22   think that -- so in any event I think you can ask the 22       BY MR. BLOCK:
23   question you were asking but in general this order is 23          Q. And do you recall whether any of the
24   directed to a specific time frame and more            24       zero-click vectors in 2015 involved WhatsApp in any
25   specifically to targeting or directing at WhatsApp    25       way?
                                                    Page 119                                                     Page 121
 1   servers or using WhatsApp in a way to access target        1      A. As much as I know, no, it didn't involve
 2   devices. So with that go ahead.                            2   WhatsApp.
 3         MR. BLOCK: Okay, I'll just refer to page 4           3      Q. And do you recall whether any of the
 4   of 7 in docket 292, lines 4-7 which I think assumed        4   triggered vectors in 2015 involved WhatsApp in any
 5   that there would be a production of the relevance by       5   way?
 6   way of, pursuant to the order, timely. But it says:        6      A. What do you mean by "any way"? Sending a
 7         "If after reviewing the relevance by                 7   link to a target via WhatsApp, it's "any way"?
 8         where from that time frame plaintiffs                8      Q. Yes.
 9         are able to provide evidence that any                9      A. So I would say that as much as I know for the
10         attack lasted beyond that time frame                10   trigger we do not use that. The customer might
11         plaintiffs may seek further discovery at            11   choose to take the link and use his own, either
12         that time."                                         12   WhatsApp or a different system, to send the link.
13         MR. AKROTIRIANAKIS: Right and I agree --            13      Q. So from a user interface standpoint when the
14   sorry, I didn't mean to interrupt you.                    14   user elects to pursue a triggered installation does
15         MR. BLOCK: That's okay. I'll just say.              15   that happen through the user interface or do they
16         MR. AKROTIRIANAKIS: That's not what you             16   then walk over to a mobile phone and send a WhatsApp
17   stated before though. You said before or after.           17   message; how does that work?
18   We're talking before, many years before. I don't          18         MR. AKROTIRIANAKIS: Objection: vague.
19   agree the court ever said before or after. Clearly        19   Compound.
20   she said what you just read. We can read it here          20         THE WITNESS: When they choose to proceed
21   today. Anyway, go ahead, ask your question.               21   with a trigger installation, the system produce a
22         MR. BLOCK: I appreciate it. I don't think           22   link. It is then up to the customer to decide if he
23   she's barred this line of questioning and if we end       23   sends it over a regular SMS which at a certain point
24   up with a disagreement about that, that is the thing      24   of time he could have done via the system, or he
25   that happens in litigations from time to time. So         25   extract the link, either copy or whatever, and then

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 1   send using any other method that he has.                 1        THE WITNESS: I'm trying to understand. You
 2   BY MR. BLOCK:                                            2   mean how it worked?
 3      Q. At this time in 2015 did the system enable         3   BY MR. BLOCK:
 4   sending the link by WhatsApp message through the user    4      Q. Sure.
 5   interface?                                               5      A. So I don't know how it worked. So --
 6         MR. AKROTIRIANAKIS: Objection: foundation.         6      Q. But do you have an understanding that however
 7         THE WITNESS: As much as I recall, no.              7   it worked involved WhatsApp?
 8   BY MR. BLOCK:                                            8      A. That's my understanding.
 9      Q. Did there come a later time when the system        9      Q. So we spoke about Eden and Heaven. Are you
10   enabled the user to initiate a triggered installation   10   aware of any other names for defendants' installation
11   by sending a WhatsApp message through the user          11   vectors that involved WhatsApp?
12   interface?                                              12        MR. AKROTIRIANAKIS: Objection: foundation.
13      A. The trigger installation, right?                  13        THE WITNESS: Yes.
14      Q. Yes.                                              14   BY MR. BLOCK:
15      A. As much as I know, no.                            15      Q. What are the other names that you're aware
16      Q. When did it become possible for the user to       16   of?
17   send a covert installation that involved WhatsApp?      17      A. Erised.
18         MR. AKROTIRIANAKIS: Objection: vague. No          18      Q. Like desire but spelt backwards?
19   foundation.                                             19   E-R-I-S-E-D, correct?
20         THE WITNESS: As much as I understand around       20      A. Yes.
21   summer 2018, maybe close to the end of it. I don't      21      Q. We have Eden, Heaven and Erised. Any others?
22   know the exact date, but somewhere there.               22      A. Not that I recall.
23   BY MR. BLOCK:                                           23      Q. Have you heard the term Hummingbird?
24      Q. And do you recall a name for that                 24      A. Yes, I have heard the term Hummingbird.
25   WhatsApp-related zero-click installation vector that    25      Q. Do you know one way or another whether
                                                  Page 123                                                      Page 125
 1   came online some time around 2018?                       1   Hummingbird used WhatsApp?
 2      A. So internal names were like Eden, or Heaven.       2      A. I think we are confusing here with terms.
 3      Q. Are those the same?                                3      Q. How so?
 4      A. What do you mean by the same.                      4      A. Because there are different names being used
 5      Q. I mean is Eden one thing and Heaven a              5   so like I said before, from the customer perspective
 6   different thing or are those used interchangeably?       6   it would be covert, right. And there are names that
 7      A. For myself and the team as you know those are      7   we use internally and there are names that we use
 8   covert vectors. I don't know if the technology           8   sometimes externally. So in that regard Hummingbird,
 9   behind them is different.                                9   as much as I remember from the period, would be like
10      Q. Okay, but you and your team would discuss         10   an umbrella name for the family of such covert
11   them separately as different vectors no matter how      11   vectors.
12   they operate?                                           12      Q. The family of installation vectors that use
13      A. As different vectors.                             13   WhatsApp?
14      Q. Okay. And you had an understanding that Eden      14      A. Again, as much as I understand, Hummingbird
15   used WhatsApp in some way but you don't know the        15   is the name that we've used externally in some cases.
16   details; is that correct?                               16      Q. For the family of installation vectors that
17        MR. AKROTIRIANAKIS: Objection: vague.              17   use WhatsApp?
18   Foundation. Beyond the scope of the designation.        18         MR. AKROTIRIANAKIS: Objection: no
19        THE WITNESS: My understanding would be that,       19   foundation.
20   yes.                                                    20         THE WITNESS: As much as I can understand.
21   BY MR. BLOCK:                                           21   BY MR. BLOCK:
22      Q. What is your understanding, if any, as to how     22      Q. Is that a yes?
23   Heaven used WhatsApp?                                   23         MR. AKROTIRIANAKIS: No foundation.
24        MR. AKROTIRIANAKIS: Vague. No foundation.          24         THE WITNESS: Yes.
25   Beyond the scope of the designation.                    25   BY MR. BLOCK:

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 1      Q. And in the Hummingbird family, what are             1      A. Same for as much as I know, for Android
 2   the -- strike that. What are the names you know of        2   platform.
 3   installation vectors in the Hummingbird family?           3      Q. Are you aware of WhatsApp ever using
 4      A. So I don't recall when we introduced the name       4   WhatsApp -- sorry. Let me try again. Are you aware
 5   Hummingbird but I don't think, as much as I remember,     5   of defendants ever using an installation vector that
 6   that there will be other names than what we said          6   involved WhatsApp to install Pegasus on an iOS
 7   before.                                                   7   device?
 8      Q. And the ones we said before were Eden, Heaven       8      A. Not that I recall, no.
 9   and Erised?                                               9      Q. And we're talking about zero-click exploits
10      A. Yes, I just don't remember when we started         10   versus sending messages, right?
11   with the Hummingbird term so it may not be the whole     11      A. So again I'm less comfortable with the know
12   three of them, maybe just one or two of them.            12   how because myself or my team do not develop so it's
13      Q. And Erised from Eden, Heaven and Erised you        13   hard for me to say. But as much as I know it was not
14   don't recall knowledge of another installation vector    14   used for iOS.
15   that used WhatsApp?                                      15      Q. Are you general familiar with the user
16      A. I don't remember.                                  16   interface that customers see when they operate
17      Q. You said you first became aware of                 17   Pegasus?
18   an installation vector that used WhatsApp around         18      A. Generally aware, yes.
19   2018, maybe late I think those were your words,          19      Q. During an agent installation process, is it
20   something like that?                                     20   possible it see in the user interface the phone
21      A. Something like that, yes.                          21   numbers of the target devices identified for
22      Q. When is the latest point in time that you're       22   installation?
23   aware of defendants using an installation vector that    23      A. The customer enters the number so the number
24   used WhatsApp?                                           24   is presented on the user interface what we call the
25      A. I would say somewhere around 2019 maybe a          25   UI.
                                                   Page 127                                                      Page 129
 1   little bit into 2020 but I'm not sure of the exact        1      Q. Are you aware of something called a
 2   date so that would be like a ballpark.                    2   whitelist, a whitelist of numbers?
 3       Q. Okay. Is that something Mr. Gazneli would          3      A. Yes.
 4   know?                                                     4      Q. What is the concept of a whitelisted phone
 5          MR. AKROTIRIANAKIS: Objection: no                  5   number as it relates to Pegasus?
 6   foundation.                                               6      A. So it might be used in other departments of
 7          THE WITNESS: He might.                             7   different use. So I would say from the perspective
 8       Q. What's the latest point in time when you're        8   that I have, okay. Because it's a general term, it
 9   aware of defendants trying to defendant a zero-click      9   might be used also by other departments. But it will
10   installation using WhatsApp?                             10   means that there are certain numbers that their flow
11          MR. AKROTIRIANAKIS: Objection: no                 11   of the installation is a bit different.
12   foundation.                                              12      Q. Can you give me an example?
13          THE WITNESS: I have no knowledge of that.         13      A. Yes. If the customer hold a test device,
14   BY MR. BLOCK:                                            14   which they usually do, it's a common practice before
15       Q. We may have asked this before. Was Eden to        15   they go on a real operation to run a test. Then the
16   your knowledge specific to a particular operating        16   test, the test device, might have been on the
17   system such as Android, iOS, BlackBerry?                 17   whitelist. So they can install and maybe install
18       A. As much as I recall, it's for Android             18   again in, you know, some time later.
19   platform.                                                19      Q. And perhaps install again, sometimes later in
20       Q. And was Heaven specific to a specific             20   a manner that the system would prevent had the number
21   operating system such as Android, iOS or BlackBerry?     21   not been on a whitelist?
22       A. Same here, as much as I remember it's             22      A. Can you explain that?
23   an Android platform.                                     23      Q. Yeah, you said a test device number might be
24       Q. And was Erised specific to a particular           24   whitelisted so Pegasus can be installed and then
25   operating system?                                        25   installed again. Is that what you said?

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 1      A. Yeah, it can be installed and then installed        1         MR. AKROTIRIANAKIS: Objection: no
 2   again, yes.                                               2   foundation.
 3      Q. Why does it have to be on a whitelist in            3         THE WITNESS: I'm not so sure about the
 4   order to be installed and then installed again?           4   clarification part, the 7. But the rest looks like
 5         MR. AKROTIRIANAKIS: Objection: no                   5   they are part of the SLA.
 6   foundation.                                               6   BY MR. BLOCK:
 7         THE WITNESS: Because from -- because when           7      Q. Okay. And do defendants use standard terms
 8   you send -- when the customer send installation to a      8   in their SLAs that they repeat with multiple
 9   real target there are some operational security           9   customers?
10   measures that they should apply. One of them is the      10      A. If we use what?
11   time in between the installation. Clearly for a test     11      Q. The same terms over and over again?
12   device if he had to wait a few days then by the time     12      A. Some of the terms are being used again and
13   he will finish his test then the operation will not      13   again.
14   be relevant.                                             14         MR. BLOCK: I have received a request for a
15   BY MR. BLOCK:                                            15   lunch break and so I suggest that we go off the
16      Q. And as we discussed, op sec measures are           16   record.
17   measures to make sure the operation remains secret,      17         MR. AKROTIRIANAKIS: Okay. That's fine.
18   right?                                                   18         VIDEOGRAPHER: Going off the record. The
19      A. Secured.                                           19   time is 13:34. End of media card 3, volume 1 of the
20      Q. Secured including against disclosure to            20   video deposition of Ramon Eshkar.
21   others?                                                  21               (Lunch recess.)
22         MR. AKROTIRIANAKIS: Objection: vague.              22         VIDEOGRAPHER: This is the beginning of media
23         THE WITNESS: I tend to agree.                      23   card 4, volume 1 in the deposition of Ramon Eshkar.
24   BY MR. BLOCK:                                            24   Going on the record the time is 14:17. Thank you.
25      Q. Let's look at page 34 of 46 in Exhibit 2004,       25         MR. AKROTIRIANAKIS: Before we get started
                                                   Page 131                                                      Page 133
 1   titled Exhibit D Service Level Agreement. Do you see   1      again I wanted to designate the transcript as highly
 2   that?                                                  2      confidential under the protective order, and also the
 3       A. Thirty --                                       3      witness would like to read and sign. And let me know
 4       Q. 34 of 46.                                       4      before the end and I'll let you know if you need to
 5       A. Exhibit D. Yes, I see that.                     5      send it directly to him or to me to send to him
 6       Q. What is a service level agreement generally     6      because it might be -- there might be a difference.
 7   in defendants' contracts for Pegasus?                  7      BY MR. BLOCK:
 8         MR. AKROTIRIANAKIS: Objection: misstates the 8            Q. Okay, thank you. Welcome back, Mr. Eshkar.
 9   document.                                              9      Just a couple looking over my notes. I think you
10         THE WITNESS: So generally talking about what 10         mentioned that the name Hummingbird was used
11   we call SLAs, or service level agreement, not in the  11      externally by defendants with customers. Was it?
12   context of this contract but in general service level 12        A. It was used externally.
13   agreement will be our way to define the service that  13        Q. But Eden, and Heaven, and Erised were not
14   we provide to our customer like how long they will    14      used externally with customers; is that correct?
15   wait for an answer for a phone call, what our service 15        A. They were not meant to use externally.
16   covers in means of for example the hardware, so on so 16        Q. That was a matter of defendants' policy?
17   forth, and what is the definitions of minor or major  17           MR. AKROTIRIANAKIS: Objection: vague; no
18   or critical, so on so forth. I have more examples if  18      foundation.
19   you need but this is more or less. How they can       19           THE WITNESS: I mean they were internal names
20   contact us. At what times.                            20      so people were not supposed to use it externally.
21   BY MR. BLOCK:                                         21      BY MR. BLOCK:
22       Q. If you take a moment to look at -- strike      22        Q. I understand. Can you give me an example how
23   that. In Exhibit 2004 the service level agreement     23      Hummingbird was used externally?
24   runs from page 34 of 46 through page 46 of 46;        24        A. An example?
25   correct?                                              25        Q. Yes, please.

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 1      A. If the customer and the one he, let's say the      1        THE WITNESS: You mean if they will make the
 2   client executive that he is talking to would like to     2   linkage because of the way that we present vectors to
 3   talk about the same topic, then they can say             3   the customers?
 4   Hummingbird.                                             4   BY MR. BLOCK:
 5      Q. And how much information did defendants share      5      Q. My question is about what defendants
 6   with customers about what Hummingbird means?             6   communicated to their customers about Hummingbird.
 7         MR. AKROTIRIANAKIS: Objection: vague.              7   Did defendants communicate to their customers that
 8         THE WITNESS: The concept is that it means          8   Hummingbird referred to a family of vectors?
 9   the covert vector.                                       9        MR. AKROTIRIANAKIS: Objection: vague. Go
10   BY MR. BLOCK:                                           10   ahead.
11      Q. So defendants customers understood that           11        THE WITNESS: No, it was for a covert vector.
12   Hummingbird was a label for a covert vector for         12   BY MR. BLOCK:
13   installation of Pegasus end device agents?              13      Q. Okay. Did defendants communicate to their
14         MR. AKROTIRIANAKIS: Objection: foundation.        14   customers that Hummingbird was for a covert vector
15         THE WITNESS: Can you please repeat?               15   for Pegasus?
16   BY MR. BLOCK:                                           16      A. Yes.
17      Q. Yeah and let me -- was the Hummingbird family     17      Q. Do you still have Exhibit 2004 in front of
18   of vectors used to install products other than          18   you?
19   Pegasus?                                                19      A. Yes.
20      A. No.                                               20      Q. Will you please turn to the page numbered 12
21      Q. Did defendants' customers understand that         21   of 46. Are you there?
22   Hummingbird was a name to refer to covert               22      A. 12 of 46. Yes I'm there.
23   installation of Pegasus?                                23      Q. Just to situate you, in case you have to flip
24         MR. AKROTIRIANAKIS: Objection: foundation.        24   back, we're in Exhibit A-1 to Exhibit A. And
25         THE WITNESS: Customers will understand that       25   Exhibit A is the description of the system and
                                                  Page 135                                                      Page 137
 1   Hummingbird is a covert vector.                          1   services. And on page 8 --
 2   BY MR. BLOCK:                                            2      A. Okay.
 3      Q. And did defendants disclose -- I'm sorry.          3      Q. -- it says:
 4   You said customers will understand that Hummingbird      4        "The System Provider's Pegasus system is
 5   is a covert vector. My question is, did defendants'      5        comprised of the following (the
 6   customers understand that Hummingbird was a name for     6        'System'): (a) the features and
 7   a covert vector for Pegasus?                             7        capabilities detailed in the
 8         MR. AKROTIRIANAKIS: Objection: foundation.         8        table attached hereto as Exhibit A-1."
 9         THE WITNESS: I'm trying to understand what's       9        Did I read that correctly?
10   the difference. Maybe it's better to translate.         10      A. Where are you at? I see Exhibit A-1 under
11   BY MR. BLOCK:                                           11   "The System" (a) and I see -- but I don't see what
12      Q. You excised Pegasus. I asked you a question;      12   you just read.
13   you skipped Pegasus when I read it back. I was          13      Q. Sure. On page 8 of 46 it says:
14   trying to figure out if you meant something by that.    14        "The System: The System Provider's
15   Did customers not know that Hummingbird was for         15        Pegasus system is comprised of the
16   Pegasus?                                                16        following (the 'System'): (a) ..."
17         MR. AKROTIRIANAKIS: Objection: foundation.        17      A. Page 8 of 46?
18         THE WITNESS: I would assume they understand       18      Q. Yes. Read from the top of the page. Do me a
19   that it's for Pegasus.                                  19   favor. Please read page 8 of 46, starting with
20   BY MR. BLOCK:                                           20   Exhibit A, and getting to the end of the first
21      Q. Because defendants communicated to their          21   subparagraph (a).
22   customers that Hummingbird referred to covert           22      A. So from paragraph (a), right?
23   installation vector or vectors for Pegasus?             23      Q. No, please read from Exhibit A, at the top.
24         MR. AKROTIRIANAKIS: Object to the form of         24      A. Okay:
25   the question.                                           25     "Description of the System and Services"

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 1      A. Yes.                                               1      Q. And one job of the white services department
 2      Q. Do those connect to the NOC?                       2   is to procure anonymized VPS; is that accurate?
 3        MR. AKROTIRIANAKIS: Objection: foundation.          3      A. This is part of the job.
 4        THE WITNESS: So we do provide email access          4      Q. And what steps are involved when someone in
 5   and phone access I just don't know if those are the      5   the white services department procures anonymized
 6   exact email and phone number at the time since --        6   VPS?
 7   I don't know again it's not our contract so I don't      7         MR. AKROTIRIANAKIS: Objection: no
 8   know if there was something there, but we do provide     8   foundation.
 9   email access and phone number. Today there is a          9         THE WITNESS: They will pick a provider that
10   dedicated system for this communication so email is     10   provides the VPS, and they will choose the service
11   hardly ever used.                                       11   that they want from that provider, and they will have
12   BY MR. BLOCK:                                           12   to follow the procurement process required according
13      Q. What is that dedicated system called?             13   to that specific supplier.
14      A. It's the NSD. NSD.                                14   BY MR. BLOCK:
15      Q. What does NSD stand for?                          15      Q. In what sense is the service anonymized?
16      A. Okay. I think it's NSO support -- I don't         16      A. In the sense that it cannot be linked to
17   recall exactly but something like that.                 17   either the customer or NSO.
18      Q. Something like that?                              18      Q. And how do defendants achieve that
19      A. It's initials that describe a support system.     19   anonymization with respect to VPS?
20      Q. What function do the tunnels and VPS you just     20         MR. AKROTIRIANAKIS: Objection: foundation.
21   mentioned serve relative to Pegasus?                    21         THE WITNESS: They use an anonymized --
22      A. So to the best of my knowledge they are part      22   I don't know what to call it -- way in order to gain
23   of the infrastructure required in order to connect      23   a service.
24   between the system to the outside and back and forth.   24   BY MR. BLOCK:
25      Q. Earlier we talked about the white services        25      Q. And I would like to know what you know about
                                                  Page 151                                                     Page 153
 1   department, do you recall that?                      1       the details of that anonymized way. Can you explain
 2      A. Yes.                                           2       it?
 3      Q. And one of the things that the white services  3             MR. AKROTIRIANAKIS: Objection: foundation.
 4   department will do is set up VPS servers for a       4             THE WITNESS: So to the best of my knowledge
 5   customer; is that accurate?                          5       they will use financial means which are not directly
 6      A. They will not set it up. They will procure     6       related to the customer or to the company. That's
 7   the service. There is another team that will set it  7       I think the main point here that will allow them to
 8   up.                                                  8       establish an anonymized VPS account.
 9      Q. Okay so let me start with the procurement.     9       BY MR. BLOCK:
10   And to set the stage a customer is setting up       10           Q. Can you give me an example of financial means
11   an installation of Pegasus and requires VPS as part 11       not directly related to the customer or the company
12   of the infrastructure to operate Pegasus; is that   12       that the white services department uses for these
13   accurate?                                           13       purposes?
14         MR. AKROTIRIANAKIS: Objection. Object to      14           A. It can be like a credit card.
15   the form of the question. Vague. No foundation.     15           Q. A credit card registered in the name other
16         THE WITNESS: So can you please clarify?       16       than the customer or defendants I presume; is that
17   BY MR. BLOCK:                                       17       accurate?
18      Q. Yeah. I think you testified to the effect     18           A. Sounds to me, yes.
19   that customers need VPS to operate Pegasus. Is that 19           Q. And do you know the details about how the
20   accurate?                                           20       white services department procures credit cards and
21         MR. AKROTIRIANAKIS: Objection: misstates his 21        names not related to defendants or their customers?
22   testimony.                                          22             MR. AKROTIRIANAKIS: Objection: foundation.
23         THE WITNESS: VPS are part of the              23             THE WITNESS: How exactly they are doing
24   infrastructure required for the system.             24       that, no.
25   BY MR. BLOCK:                                       25       BY MR. BLOCK:

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 1      Q. Okay. Does NSO use cryptocurrency as                          1         MR. BLOCK: Let's start with yes or no.
 2   a financial means for setting up anonymized VPS?                    2   BY MR. BLOCK:
 3        MR. AKROTIRIANAKIS: Objection: foundation.                     3      Q. Are you able to name customers who handle the
 4        THE WITNESS: If I'm not mistaken, yes.                         4   installation and infrastructure themselves?
 5   BY MR. BLOCK:                                                       5      A. Yes.
 6      Q. Bitcoin for example?                                          6      Q. Will you please identify them for the record?
 7        MR. AKROTIRIANAKIS: Foundation.                                7         MR. AKROTIRIANAKIS: Okay, that I will
 8        THE WITNESS: Bitcoin for example.                              8   instruct him not to answer.
 9   BY MR. BLOCK:                                                       9   BY MR. BLOCK:
10      Q. Have you ever heard of Quadranet?                            10      Q. Are you able to name customers for whom
11      A. Sounds familiar.                                             11   defendants performed the infrastructure procurement
12      Q. Is Quadranet familiar to you as a VPS                        12   and installation?
13   provider?                                                          13      A. If I can?
14      A. No, I don't recall no.                                       14         MR. AKROTIRIANAKIS: He's asking you yes or
15      Q. Okay. Do you recall anything about                           15   no, if you can.
16   Quadranet?                                                         16      A. Yes, I can.
17      A. Not that I recall, no.                                       17   BY MR. BLOCK:
18      Q. Have you heard of Green Cloud VPS?                           18      Q. Will you please identify for the record the
19      A. I heard the name but I don't have more                       19   customers for whom defendants did the infrastructure
20   details than that.                                                 20   installation that you are able to name?
21      Q. Do you recall having heard it in connection                  21         MR. AKROTIRIANAKIS: Again I'm going to
22   with your work for defendants?                                     22   instruct him not to answer for the same reason.
23      A. Yes.                                                         23   BY MR. BLOCK:
24      Q. And what else do you recall about how you                    24      Q. Can you tell me how many customers defendants
25   heard the name, if anything?                                       25   have performed infrastructure installation for?
                                                             Page 155                                                     Page 157
 1        A. Just the name. I mean nothing in particular.                1        MR. AKROTIRIANAKIS: Objection: foundation.
 2        Q. How about the name Choopa, C-H-O-O-P-A, is                  2        THE WITNESS: Throughout which period of
 3   that familiar to you?                                               3   time?
 4        A. No.                                                         4   BY MR. BLOCK:
 5        Q. Can you name any VPS servers that you know                  5      Q. Let's start with the entire life of the
 6   defendants use when setting up anonymized VPS for                   6   company?
 7   customers?                                                          7        MR. AKROTIRIANAKIS: Objection: foundation.
 8          MR. AKROTIRIANAKIS: Objection: foundation.                   8        THE WITNESS: I don't have exact number in
 9          THE WITNESS: Not that come in mind.                          9   mind.
10   BY MR. BLOCK:                                                      10   BY MR. BLOCK:
11        Q. Do customers select the VPS provider, or                   11      Q. Can you estimate it by order of magnitude?
12   does -- do defendants?                                             12        MR. AKROTIRIANAKIS: Objection: foundation.
13          MR. AKROTIRIANAKIS: Objection: overboard.                   13        THE WITNESS: More than ten. I mean tens.
14   No foundation.                                                     14   BY MR. BLOCK:
15          THE WITNESS: Some customers choose to set up                15      Q. Tens?
16   the infrastructure themselves so they will do it A to              16      A. Around.
17   Z.                                                                 17      Q. More than 100?
18   BY MR. BLOCK:                                                      18        MR. AKROTIRIANAKIS: Objection: foundation.
19        Q. I'm going to ask a question that I think your              19        THE WITNESS: I don't know.
20   counsel has an objection to but I just want to be                  20   BY MR. BLOCK:
21   clear for the record. Can you name customers that                  21      Q. You can't rule it out, not sure.
22   handled the infrastructure themselves A to Z?                      22        MR. AKROTIRIANAKIS: Objection: foundation.
23          MR. AKROTIRIANAKIS: Are you asking him a yes                23   Compound. Vague.
24   or no question or are you asking him to name the                   24        THE WITNESS: I need to count the number that
25   customers?                                                         25   we had each career and then to sum it. So ...

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 1   I meant is that if there is a demonstration for a        1           CERTIFICATE OF COURT REPORTER
 2   customer then we would like to show that part of the     2
 3   information that the system can extract is               3         I, CHANELLE M.L. MALLIFF, a Certified
 4   WhatsApp-related, therefore we will have a test          4   LiveNote Reporter, Certified Shorthand Stage IV
 5   device with a WhatsApp account with basic                5   stenographic reporter, RPR and CRR (*NCRA 2003 and
 6   communication so during the demo we can show that we     6   2004), hereby certify that:
 7   can collect the data.                                    7          RAMON ESHKAR appeared on Tuesday, August 27,
 8   BY MR. AKROTIRIANAKIS:                                   8   2024, agreed to tell the truth, the whole truth, and
 9      Q. You just used the term WhatsApp-related. Is        9   nothing but the truth, under the penalties of perjury,
10   there any other relation to WhatsApp, other than        10   and was thereupon examined by counsel; that the
11   demonstrating the ability to extract WhatsApp           11   testimony of RAMON ESHKAR was recorded by me
12   messages from the demo client phone that you're         12   stenographically and was thereafter transcribed by me;
13   using?                                                  13   that the foregoing transcript is a true, accurate and
14         MR. BLOCK: Objection to form.                     14   verbatim record to the best of my skill and ability.
15         THE WITNESS: Come again? I lost you. It           15         I further certify that I am not a relative or
16   was very long.                                          16   employee of any party to the action; nor am I an
17      Q. Sorry. In your answer you just used the term      17   employee or relative of any attorney or counsel to any
18   WhatsApp-related. Other than demonstrating the          18   party to the action; nor am I in any way financially or
19   ability to extract a WhatsApp message from the demo     19   otherwise interested in the outcome of the action.
20   phone that you're talking about, is there any other     20
21   relation to WhatsApp?                                   21
22         MR. BLOCK: Objection to form.                     22                <%2120,Signature%>
23         THE WITNESS: No.                                  23                CHANELLE M.L. MALLIFF
24         MR. AKROTIRIANAKIS: All right, thank you.         24                    CLR, CSSIV(NZ)
25         MR. BLOCK: I assume, Joe, you'll permit           25

                                                  Page 271                                                                  Page 273
 1   questions about that testimony but not about other       1 Joseph N. Akrotirianakis, Esq.
 2   topics?                                                  2 jakro@kslaw.com
 3         MR. AKROTIRIANAKIS: I asked two questions.         3                  August 30, 2024
 4   If you've got two questions, or one question as some     4 RE: Whatsapp LLC., Et Al. v. NSO Group Technologies
 5   kind of recross-examination, then you can ask that                Limited, Et Al.
 6   but we're well beyond 7 hours and it's well after        5     8/27/2024, Ramon Eshkar (#6878149)
 7   7 p.m. now.                                              6     The above-referenced transcript is available for
 8         MR. BLOCK: I do not have re-cross. I have          7 review.
 9   many other questions.                                    8     Within the applicable timeframe, the witness should
                                                              9 read the testimony to verify its accuracy. If there are
10         MR. AKROTIRIANAKIS: Then if you don't have
                                                             10 any changes, the witness should note those with the
11   any re-cross then I think we're done.
                                                             11 reason, on the attached Errata Sheet.
12         MR. BLOCK: Then we obviously object to the
                                                             12     The witness should sign the Acknowledgment of
13   closure of the deposition but we'll allow it to
                                                             13 Deponent and Errata and return to the deposing attorney.
14   proceed, subject to that objection.
                                                             14 Copies should be sent to all counsel, and to Veritext at
15         VIDEOGRAPHER: Going off the record. The
                                                             15 cs-ny@veritext.com
16   time is 19:08. End of media card 6, volume 1 and        16 Return completed errata within 30 days from
17   this is the end of the video deposition of Ramon        17 receipt of testimony.
18   Eshkar. If I could ask about the video and              18 If the witness fails to do so within the time
19   transcript, if you could state that please?             19 allotted, the transcript may be used as if signed.
20         MR. AKROTIRIANAKIS: Is it possible if             20
21   I could tell you after because someone else manages     21
22   that and I inevitably will mess it up.                  22            Yours,
23         MR. BLOCK: Same answer.                           23            Veritext Legal Solutions
24   (Whereupon, the deposition concluded at 7:09 pm)        24
25                                                           25

                                                                                                       69 (Pages 270 - 273)
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               EXHIBIT 9
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 Custodian:              Shaner, Josh



Application:             WhatsApp

Active Participants:


Other Recipients:
                                                                Josh Shaner




Date/Time Start:        12/05/2018 01:25 AM

Date/Time End:          12/05/2018 05:00 AM




Time           From             Message Body                                                                       Deleted

01:25:09                        Demo in Golf is over and was a success ©                                           0


04:20:07                        Hi all,                                                                            0


                                WhatsApp had made changes in their servers that currently fail all installations
                                and can cause crashes that risk the Hummingbird vector.
                                                        a            ..-.-      4
HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                               SHANER_WHATSAPP_00001098
                                                                 2 00 '

                                                               *21-.2-       014
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                            We need to immediately pause all Hummingbird installations cross all systems
                            (Customer sites (P2 &P3, Tactical covert), Sales) until the Android research
                            team will be able to provide a solution.



                            Official message to clients was synced with CEs (



                            The team is working on a solution in top priority, hoping to provide a solution
                            ASAP.

                            We will keep you updated.



                            Thanks,



04:22:20                           nnr.? -nip o`pio2?                                                              0



04:43:54                    13                                                                                     0




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                                                                         Page 1

 1
 2                            UNITED STATES DISTRICT COURT
 3                       NORTHERN DISTRICT OF CALIFORNIA
 4                                  OAKLAND DIVISION
 5      ---------------------------------X
 6      WHATSAPP INC.                                 :
 7      a Delaware corporation, and                   :
 8      META PLATFORMS INC,                           :
 9      a Delaware Corporation:
10                            Plaintiffs              :
11                  v.                                :      Case No.
12      NSO GROUP TECHNOLOGIES LTD                    :      4:19-cv-07123-PJH
13      and                                           :
14      Q CYBER TECHNOLOGIES LTD                      :
15                        Defendants                  :
16      ---------------------------------X
17                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
18                             Deposition of YARON SHOHAT
19                                          LONDON
20                            THURSDAY, AUGUST 29TH, 2024
21                                    9:19 A.M. BST
22
23
24
25

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                                                                Page 46                                                                    Page 48
 1 Q. Yes.                                                                 1 A. Because competing solutions do require MNO cooperation.
 2 A. Okay. Which page, please?                                            2    Some of the competing.
 3 Q. Page 6, please.                                                      3 Q. Have defendants sometimes used Whatsapp infrastructure
 4 A. Page 6.                                                              4    as part of an installation vector for Pegasus?
 5       Yes.                                                              5 A. I wouldn't call it Whatsapp infrastructure. But if you
 6 Q. Under section 2 in the second paragraph, do you see                  6    ask if we -- if it might send Whatsapp messages, the
 7    where it says:                                                       7    answer's yes.
 8       "Pegasus deploys an invisible software (SW)                       8 Q. Including with respect to zero click installation?
 9    component agent on a target's device which extracts and              9 A. Yes.
10    securely transmits data for intelligence analysis."                 10 Q. Does the operation of that Whatsapp related zero click
11 A. I see it.                                                           11    installation vector require cooperation from Whatsapp?
12 Q. What does it mean that the agent was invisible?                     12 A. No.
13 MR. AKROTIRIANAKIS: Objection. Vague. No foundation.                   13 Q. Before operating that Whatsapp related zero click
14 A. I didn't write it. I don't know what it refers to.                  14    installation vector, did defendants ever inform Whatsapp
15 Q. Are you familiar with the Pegasus technology that the               15    about what they were doing?
16    defendants offer?                                                   16 MR. AKROTIRIANAKIS: No foundation.
17 A. Of course.                                                          17 A. I don't know if there were any discussions with Whatsapp
18 Q. Okay. Does that technology deploy a software component              18    personnel. Might. I am not aware of.
19    that defendants describe as "invisible"?                            19 Q. So if it happened, you don't know about it?
20 A. It deploys an agent which the owner or user of the                  20 A. I don't know about it.
21    targeted device is not aware of. If that's what                     21 Q. And now, as CEO of defendants, you have never become
22    "invisible" means ...                                               22    aware of a communication that defendants had with
23 Q. Does it deploy it in a manner that's invisible to the               23    Whatsapp before deploying the Hummingbird installation
24    infrastructure used to install it?                                  24    vectors; correct?
25 MR. AKROTIRIANAKIS: Objection. Vague.                                  25 A. If such discussions did occur, they were before the

                                                                Page 47                                                                    Page 49
 1 A. I am not sure what you mean by "infrastructure".                     1    relevant period of 2019. So since then, there were not
 2 Q. Okay, when you said "agent", what did you mean?                      2    such discussions.
 3 A. Piece of software.                                                   3 Q. And I am asking about whether those discussions occurred
 4 Q. And what is the agent in the context of Pegasus?                     4    before 2019?
 5 A. The software of Pegasus, which is running on the                     5 MR. AKROTIRIANAKIS: Objection. The question's incomplete.
 6 targeted device.                                                        6    Or maybe not even a question at all.
 7 Q. Okay, and what's an installation vector?                             7 A. I didn't say that there were discussions before 2019.
 8 A. It is the way, the method, to deliver that agent on to               8    I said that, if there were discussions, they were before
 9 the device.                                                             9    2019.
10 Q. The second to last bullet on page 6 says:                           10 Q. But you are not aware of any discussion between
11      "Cooperation with local MNO is not required."                     11    defendants and Whatsapp before 2019; correct?
12      Do you see that?                                                  12 A. I am not aware. But it is definitely possible.
13 A. Where, exactly?                                                     13 Q. Are you aware of any instance in which defendants have
14 Q. The second to last bullet on page 6. On exhibit 2016 it             14    asked permission from a third party whose technology
15 says:                                                                  15    defendants are using as part of an installation vector
16      "Cooperation with local MNO is not required."                     16    for Pegasus?
17      Do you see that?                                                  17 MR. AKROTIRIANAKIS: Objection. No foundation.
18 A. I see that.                                                         18 A. I am not aware.
19 Q. Do you know what "MNO" stand for?                                   19 Q. Do defendants have installation vectors for Pegasus
20 A. Yes.                                                                20    today?
21 Q. What is it?                                                         21 A. Yes.
22 A. Mobile network operator.                                            22 MR. AKROTIRIANAKIS: I am actually going to instruct the
23 Q. Why does NSO highlight the fact that cooperation with               23    witness not to answer that question. The witness has
24 the local mobile network operator is not required?                     24    now answered the question, but ...
25 MR. AKROTIRIANAKIS: Objection. No foundation.                          25 Q. Have defendants sought permission from any third party

                                                                                                                       13 (Pages 46 - 49)
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                                                                 Page 50                                                                    Page 52
 1    whose technology is involved in the provision of the                  1 Q. Do defendants have an installation vector for Pegasus
 2    installation vectors defendants used for Pegasus today?               2    today that uses Facebook technology in any way?
 3 MR. AKROTIRIANAKIS: I am going to instruct the witness not               3 A. No.
 4    to answer that question, on the basis of the court's                  4 Q. Do defendants use an emulator capable of sending
 5    order docket number 292.                                              5    Whatsapp messages in connection with Pegasus today?
 6 MR. BLOCK: Joe, we discussed this before.                                6 MR. AKROTIRIANAKIS: Objection. No foundation.
 7 MR. AKROTIRIANAKIS: We did.                                              7 A. I don't think I am the right person to answer that.
 8 MR. BLOCK: And I want to just state for the record, our                  8 Q. Do you know the answer?
 9    understanding of that order is not a "limitation ordered              9 A. I don't know.
10    by the court under rule 30 C2". It made no mention of                10 Q. Okay.
11    any depositions and gives no basis for you to instruct               11      What are the internal names that defendants use for
12    the witness not to answer. You have referred, in                     12    every installation vector that you are aware of that use
13    relation to those instructions, to the court's Richmark              13    Whatsapp technology?
14    analysis. The threshold question is whether the witness              14 MR. AKROTIRIANAKIS: Objection. Foundation. Also vague as
15    is prohibited from answering my question because of                  15    to time.
16    a non-US legal obligation. So if the defendants assert               16 A. Actually, I don't know. We are not -- like, the
17    that a non-US law prohibits the witness from answering               17    internal code names for vectors are internal and mostly
18    my question, please say so. We can decide later whether              18    used by the R&D and support teams, and less of
19    to ask the court to consider, under Richmark, what the               19    an interest for, of me. You mentioned before the name
20    result should be for the defendants' discovery and                   20    Hummingbird, which is the general name we use for zero
21    obligations in this case. But at this deposition,                    21    click installation, regardless of whether it is using
22    I respectfully request a clear statement from defendants             22    Whatsapp or other methods. That's the term that I am
23    as to the threshold issue.                                           23    using.
24      So is it your position that a non-US law prohibits                 24 Q. So do you know which Hummingbird installation vectors
25    the witness from answering the question I asked?                     25    use Whatsapp?

                                                                 Page 51                                                                    Page 53
 1 MR. AKROTIRIANAKIS: My position is that the court's order                1 MR. AKROTIRIANAKIS: Objection. Vague.
 2    states that -- the court's order adopts the definition                2 A. I was told that as part of the preparation for this
 3    requested by you, with a time limitation imposed by the               3    deposition. I am not sure if my counsel --
 4    court, and says that you can seek further discovery from              4 MR. AKROTIRIANAKIS: He is not asking about conversations
 5    the court.                                                            5    that you had with lawyers for the company about the
 6 MR. BLOCK: Are you stating that the defendant is prohibited              6    lawsuit.
 7    by a foreign legal obligation from answering the                      7 A. Before that, I did not know, or did not recall, which
 8    question that I asked? I understand, because I asked                  8    codes were referring to Whatsapp or other vectors.
 9    you that question before and you didn't, that you have                9 Q. Okay. Before that, did you know, setting aside the code
10    not given that instruction. And so we object to your                 10    names, which vectors used Whatsapp technology and which
11    instruction to the witness not to answer as a violation              11    did not?
12    of rule 30.                                                          12 MR. AKROTIRIANAKIS: Objection. Vague.
13 By Mr. Block:                                                           13 A. I might have knew, but I did not recall before meeting
14 Q. Mr. Shohat, do defendants have an installation vector                14    with my lawyers in the last few days.
15    for Pegasus today that uses Whatsapp technology in any               15 Q. Okay.
16    way?                                                                 16      Are you aware of any installation vectors that use
17 MR. AKROTIRIANAKIS: I am sorry, I am going to need to catch 17                Facebook or Facebook Messenger?
18    up with the transcript here.                                         18 A. I am not aware.
19      Okay, go ahead.                                                    19 Q. You don't know which installation vectors do or do not
20 A. Go ahead?                                                            20    use those services?
21 MR. AKROTIRIANAKIS: Do you have his question in mind?                   21 MR. AKROTIRIANAKIS: Objection. Misstates his testimony.
22 A. Yes, I do. Can you repeat it, please?                                22 A. I am not aware of any usage of Facebook Messenger.
23 Q. Yes. Do defendants have an installation vector for                   23 Q. Is there any policy at defendants with respect to
24    Pegasus today that uses Whatsapp technology in any way?              24    conducting research and development on Whatsapp
25 A. No.                                                                  25    technology?

                                                                                                                         14 (Pages 50 - 53)
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                                                      Page 66                                                         Page 68
 1 A. Yes.                                                     1 Q. And thinking of your knowledge of the UI as it exists
 2 Q. And then it says:                                        2   today, you have also never seen Pegasus give a customer
 3      "Pegasus 2.70 (android and P2 platform)."              3   an option to choose which zero click installation vector
 4      Do you see that?                                       4   to use; right?
 5 A. Mm-hm.                                                   5 A. Correct.
 6 Q. Do you know what "P2 platform" means in that line?       6 Q. And that's been true consistently over the course of
 7 MR. AKROTIRIANAKIS: Objection. Foundation.                  7   your time at NSO?
 8 A. I am not sure.                                           8 A. Yes.
 9 Q. Do you recall using the term "P2 platform" in your work 9 Q. Why would you be surprised if Pegasus gave a customer
10 at NSO?                                                    10   an option to choose which zero click installation vector
11 A. I don't recall using "P2".                              11   to use?
12 Q. Do you know -- strike that.                             12 A. Because customers don't care which vector they use, as
13      I think I am finished with that document. I will      13   long as they get the intelligence they need.
14 ask you if I want to refer you to it.                      14 Q. That's a matter for NSO and the system to take care of,
15      Thinking back to the 2018/19 time frame, did NSO      15   not a matter for customers to operate?
16 provide customers the ability to choose which specific     16 A. Correct.
17 installation vector to use when trying to put Pegasus on 17 MR. AKROTIRIANAKIS: Objection. Vague. No foundation.
18 a target device?                                           18 A. I said "correct".
19 MR. AKROTIRIANAKIS: Objection. No foundation.              19 Q. Okay. Thank you.
20 A. I don't recall what -- how do UI -- what UI allowed     20      Have you seen the complaint in this lawsuit?
21 customers in 2018/19.                                      21 A. I don't recall.
22 Q. I have seen distinctions between zero click or covert,  22 Q. Do you understand that plaintiffs accuse defendants of
23 and triggered or social engineering one click              23   being responsible for technology that used Whatsapp
24 installation vectors generally. Do those terms make        24   infrastructure as an installation vector for Pegasus, at
25 sense to you?                                              25   least in the April to May 2019 timeframe?

                                                      Page 67                                                         Page 69
 1 A. Yes.                                                   1 MR. AKROTIRIANAKIS: Objection. No foundation.
 2 Q. Is it okay with you if I use covert and zero click     2 A. I understand that the complaint is about that timeframe.
 3 interchangeably?                                          3   About, actually, an event that happened in,
 4 A. I prefer zero click in this context.                   4   I believe, April 2019.
 5 Q. Zero click, okay. And as to the alternative, social    5 Q. Setting aside the question of whether it was the
 6 engineering, or triggered, or one click --                6   defendants themselves or the defendants' customers who
 7 A. Triggered, one click.                                  7   operated the technology at issue, do you admit that NSO
 8 Q. Sorry, let me just ask the question.                   8   created the technology that was used to implement the
 9 A. Sorry.                                                 9   attacks that the complaint describes?
10 Q. As to the alternative, one click, social engineering, 10 MR. AKROTIRIANAKIS: Objection. Vague. No foundation.
11 triggered; what do you prefer?                           11 A. NSO developed the technology that our customers are
12 A. Let's stick with one click and zero click.            12   using.
13 Q. Okay.                                                 13 Q. And that's the technology that was used in the events
14      Aside from an option to choose between a zero click 14   that the complaint in this lawsuit describes in April
15 and a one click installation vector, are you aware of    15   and May 2019; correct?
16 Pegasus ever providing a customer a choice of which zero 16 MR. AKROTIRIANAKIS: Objection. No foundation.
17 click vector to use?                                     17 A. NSO developed the technology that was used in the event
18 A. I am not aware such option was given.                 18   that the complaint refers to.
19 Q. Okay. Do you know that such option was never given or 19 Q. Okay.
20 you simply don't know whether or not it ever happened? 20 MR. AKROTIRIANAKIS: I am also going to object to the
21 A. I would be very surprised if such option existed.     21   question as vague.
22 Q. Okay. So thinking back to your knowledge of the UI in 22 Q. As part of its Pegasus technology, NSO developed
23 2018/19, you are not aware of that option having existed 23 an installation vector called Heaven that uses Whatsapp
24 at that time?                                            24   signaling as part of a process that achieves zero click
25 A. I am not aware.                                       25   installation of the Pegasus endpoint on a mobile phone;

                                                                                                      18 (Pages 66 - 69)
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                                                                 Page 70                                                                   Page 72
 1    true?                                                                 1    not in evidence. And there is no foundation.
 2 MR. AKROTIRIANAKIS: Objection. Compound. Vague. No                       2 A. Do you mean what's the content of the Whatsapp messages
 3    foundation.                                                           3    sent?
 4 A. NSO developed -- can you repeat, please?                              4 Q. Yes.
 5 Q. Yes. As part of its Pegasus technology, NSO developed                 5 A. I don't.
 6    an installation vector called Heaven that uses Whatsapp               6 Q. Okay. So if I asked you about a payload in a call offer
 7    signaling as part of a process that achieves zero click               7    stanza, would you know anything about that?
 8    installation of the Pegasus endpoint agent on a mobile                8 MR. AKROTIRIANAKIS: Objection. Vague.
 9    phone; true?                                                          9 A. Payload and?
10 MR. AKROTIRIANAKIS: Objection. Compound. Vague. No                      10 Q. In a call offer stanza. Are these terms familiar to
11    foundation.                                                          11    you?
12 A. I am not sure about what Whatsapp signaling means, but               12 A. No.
13    NSO developed technology, developed installation vector              13 Q. Do you know how the Heaven and Eden installation vectors
14    for Pegasus, that involved Whatsapp messages, to install             14    caused a target device to download the Pegasus agent?
15    the agent on a target device.                                        15 MR. AKROTIRIANAKIS: Objection. No foundation.
16 Q. NSO also sold technology that constituted                            16 A. I don't recall.
17    an installation vector for Pegasus that involved                     17 Q. Okay. Is this information that you once knew but do not
18    Whatsapp messages to install the agent on a target                   18    recall, or never had occasion to know?
19    device; true?                                                        19 A. Might have heard, knew. I don't recall.
20 MR. AKROTIRIANAKIS: Objection. Vague.                                   20 Q. You don't recall whether or not you ever knew that
21 A. No. NSO licensed its technology.                                     21    information?
22 Q. Okay. Licensed and obtained revenues from customers in               22 MR. AKROTIRIANAKIS: Objection. Misstates the witness'
23    exchange for a license to technology Pegasus created,                23    testimony.
24    that used Whatsapp messages to install the Pegasus agent             24 A. If I knew, I don't recall it.
25    on a target device; correct?                                         25 Q. Okay.

                                                                 Page 71                                                                   Page 73
 1 A. No.                                                                   1       What legal entity is your employer?
 2 MR. AKROTIRIANAKIS: Objection. Vague.                                    2 A. Q Cyber Technologies Ltd.
 3 A. Not correct. Customers pay us for the capabilities they               3 Q. That's Q Cyber of Israel?
 4    get, not for the technology itself. They really don't                 4 A. Yes.
 5    care if it's Whatsapp or anything else involved. They                 5 Q. Has that been true throughout your employment with
 6    pay us for the capability to obtain intelligence which                6    defendants, since 2018?
 7    is needed for them to fight crime and terror.                         7 A. Yes.
 8 Q. And all the rest is NSO's operation under the hood?                   8 Q. As a corporate representative, what is the relationship
 9 MR. AKROTIRIANAKIS: Objection. The question is                           9    between Q Cyber Technologies Limited and NSO Group
10    incomprehensible. And argumentative.                                 10    Technologies Limited?
11 A. Definitely not NSO operation. You might claim                        11 A. Q Cyber Technologies Limited is the owner of the shares,
12    technology, not operation.                                           12    the full owner of NSO.
13 Q. Right. NSO, you said, doesn't sell any of its                        13 Q. And who is the owner of Q Cyber Technologies Limited?
14    technology to customers, and retains ownership of all of             14 A. The owner of Q Cyber Technologies Limited is a company
15    that technology; correct?                                            15    by the name OSY SARL, based in Luxembourg.
16 MR. AKROTIRIANAKIS: Objection. It is a compound question.               16 Q. Is OSY an acronym?
17    It is a vague question. There is no foundation for this              17 A. It is. I don't remember what it stands for.
18    witness, among other reasons because it calls for                    18 Q. Okay.
19    a legal conclusion.                                                  19 A. I once -- I don't recall. I once knew.
20 A. NSO does not sell its technology, but licenses its                   20 Q. NSO is an acronym, right?
21    technology.                                                          21 A. Yes.
22 Q. Do you have information about the content of the                     22 Q. For?
23    Whatsapp messages that NSO technology sent as part of                23 A. NSO is an acronym for the first letter of the first
24    the Heaven and Eden installation vectors?                            24    names of the three founders of the company:
25 MR. AKROTIRIANAKIS: Objection. The question assumes facts 25

                                                                                                                          19 (Pages 70 - 73)
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                                                              Page 174                                                                     Page 176
 1 Q. Okay. And that includes the agent that will ultimately              1 A. Okay, yes.
 2 be installed on a mobile device, correct?                              2 Q. Oh, I am asking you. I didn't know if              was male or
 3 A. Correct.                                                            3      a female?
 4 Q. It includes installation vectors, correct?                          4 A. Yes,             is a male. Yes.
 5 A. Correct.                                                            5 Q. Do you know whether                         did any work related to
 6 Q. It includes the user interface?                                     6      defendants' use of Whatsapp technology for installation
 7 A. Correct.                                                            7      vectors?
 8 Q. It includes storage and monitoring related software?                8 A. He supported Pegasus throughout the relevant period, so
 9 A. Correct.                                                            9      I assume he was familiar with the vectors.
10 Q. Anything else you can think of?                                    10 Q. Okay. Who is
11 A. These are the main components.                                     11 A. It is another person on the support team.
12 Q. Okay.                                                              12 Q. Do you know what                     responsibilities were at
13      Who is                                                           13      NSO?
14 A. I am not familiar with the name.                                   14 A. Similar to
15 Q. Who is                                                             15 Q. I know we mentioned this name, who is
16 A.                    used to be a product manager, and               16 A. He is the manager of what we call the success teams,
17 I believe even ran the product management group, up,                  17      which includes the support teams.
18 more or less, to the time that I joined the company.                  18 Q.                  has knowledge of NSO client relations?
19 Q. Did                     have responsibility for Pegasus in         19 A. The support team interacts with clients, so to that
20 that role?                                                            20      extent, yes.
21 A. For some of the components that we mentioned.                      21 Q. Do you know whether                     worked on research and
22 Q. Okay.                                                              22      development for Pegasus?
23      By the way, I would like to spell the name I gave                23 A. He did not work for research and development.
24 you a moment before, for the court reporter's benefit,                24 Q. How about customer support for Pegasus?
25 and in case I mispronounced it, so that you might know                25 A. Customer support for Pegasus reported to him.

                                                              Page 175                                                                     Page 177
 1      the person, notwithstanding the way the name came out of          1 Q. Okay.
 2      my mouth, okay.                                                   2 A.
 3                             Do you know                                3 Q.              Thank you.
 4 A. I do not know this person.                                          4 A. The name rings a bell, but I don't know his role.
 5 Q. Okay. Have you ever heard that name aside from this                 5 MR. AKROTIRIANAKIS: There was a name you said,
 6      deposition?                                                       6 A.
 7 A. Not before preparing for this deposition.                           7 Q. The reporter might appreciate your spelling, if you have
 8 Q. How did you hear it in connection with your preparation?            8      it.
 9 MR. AKROTIRIANAKIS: Don't reveal communications with                   9 MR. AKROTIRIANAKIS: I have                                         And I will
10      counsel. If you read it in a document or something like          10      trust my friends across the table to correct me if
11      that you can say it.                                             11      I have that wrong.
12 A. I heard it from my counsel.                                        12 By Mr. Block:
13 Q. You don't recall seeing that name in any document you              13 Q. Cast your mind back to April or May 2019, if you will?
14      reviewed?                                                        14 A. Okay.
15 A. No.                                                                15 Q. We have discussed Hummingbird, do you recall that?
16 Q. You don't recall seeing that name in the complaint in              16 A. Yes.
17      this lawsuit?                                                    17 Q. What does Hummingbird mean to you?
18 A. No.                                                                18 A. Hummingbird is the general name for zero click vector
19 Q. Okay. Who is                                                       19      over and through the operating system.
20 A.            was one of the support team members, or managers,       20 Q. Do you remember when Hummingbird went offline
21      for Q.                                                           21      in May 2019?
22 Q. What do you mean by "support"?                                     22 A. Hummingbird goes online and offline many times a year.
23 A. Support, you mentioned before tier 1, tier 2, tier 3.              23      I don't remember specific dates.
24      He is probably in all of those.                                  24 Q. Do you remember the events that are described in the
25 Q. Is it                                                              25      complaint in this lawsuit?

                                                                                                                      45 (Pages 174 - 177)
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                        HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY
                                                      Page 254                                                         Page 256
 1 Q. Right, you were --                                       1       CERTIFICATE OF COURT REPORTER
 2 A. We became, we were brought in to the loop only after     2
 3 Francisco Partners and the potential acquired became        3 I, CHRIS LANG, an Accredited Real-time Reporter, hereby
 4 agreed on the terms and they were about to conclude the 4 certify that the testimony of the witness YARON SHOHAT in
 5 transaction, only then we became aware that such            5 the foregoing transcript, taken on this 29TH day of AUGUST,
 6 presentations were conducted.                               6 2024 was recorded by me in machine shorthand and was
 7 Q. You were asked a lot of questions, both numerically and 7 thereafter transcribed by me; and that the foregoing
 8 time wise, about the P&L statements of WestBridge and 8 transcript is a true and accurate verbatim record of the
                                                               9 said testimony.
 9 involvement about any payments made to WestBridge,
                                                              10
10 I think the question actually related to a decision that
                                                              11 I further certify that I am not a relative, employee,
11 you were asked to make about whether or not to send the
                                                              12 counsel or financially involved with any of the parties to
12 money to the company, do you remember that line of
                                                              13 the within cause, nor am I an employee or relative of any
13 questions?
                                                              14 counsel for the parties, nor am I in any way interested in
14 A. Yes, I remember.
                                                              15 the outcome of the within cause.
15 Q. Okay. And in your answers to that, they were not really
                                                              16
16 attached in time to any particular period, but are you
                                                              17
17 able to say when it was at all that you became ever        18
18 involved with, like, reviewing the P&L for WestBridge,              <%2120,Signature%>
19 or anything like that?                                     19 Name: CHRIS LANG
20 MR. BLOCK: I object to the form of the question and the 20 Date: 8/29/24
21 coaching of the witness.                                   21
22 A. I became aware of it, of the request to make money      22
23 transfers to WestBridge, only after I became CEO, which 23
24 means all of my answers were for a period after August 24
25 '22.                                                       25

                                                      Page 255                                                         Page 257
 1 Q. August 2022?                                              1
 2 MR. BLOCK: Objection to form.                                2             CERTIFICATE OF DEPONENT
 3 A. Yes. After August 2022.
                                                                3
                                                                4 I, YARON SHOHAT, hereby certify that I have read the
 4 Q. Okay. And you were asked a lot of questions about trips
                                                                  foregoing pages, numbered 1 through 259, of my deposition
 5 that you made to the United States, to Washington DC,
                                                                5 of testimony taken in these proceedings on 29TH, AUGUST,
 6 with a stop over in New York, and meetings with, in DC,        2024 and, with the exception of the changes listed on the
 7 reporters, policymakers and service providers, do you        6 next page and/or corrections, if any, find them to be a true
 8 recall that testimony?                                         and accurate transcription thereof.
 9 MR. BLOCK: Objection to form.                                7
10 A. Yes.                                                      8
11 Q. When were those trips to Washington DC that you           9
                                                               10
12 testified about in relation to you becoming the CEO of
                                                               11 Signed: ........................
13 the company?
                                                               12 Name: YARON SHOHAT
14 A. All of those trips to Washington were after August 2022. 13 Date: ........................
15 MR. AKROTIRIANAKIS: Alright, thank you.                     14
16 THE VIDEOGRAPHER: Going off the record. The time is 19:22. 15
17 End of media card number 6 volume 1 and this is the end     16
18 of the video deposition of Yaron Shohat.                    17
19 (7:22 p.m.)                                                 18
                                                               19
20      (Whereupon, the deposition concluded at 7:22 p.m.)
                                                               20
21
                                                               21
22
                                                               22
23                                                             23
24                                                             24
25                                                             25

                                                                                                     65 (Pages 254 - 257)
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                                                                                                  $      EXHisrr
Custodian:              Shaner, Josh

                                                                                                 I Zga_
                                                                                                      9-47,2c1
Application:            WhatsApp

Active Participants:




Other Recipients:                                                                                Josh Shaner




Date/Time Start:        06/12/2019 02:05 AM

Date/Time End:          06/12/2019 11:45 AM




Time           From             Message Body                                                                   Deleted

02:05:37                        < 132f2fd2-5d4c-4b85-98a3-ae4a39c35d67.jpg >                                   0




02:06:39                       11                                                                              0


02:12:43                       Eden/ Heaven/ Hummingbird R.I.P announcement (to the English speakers           0
                               among us)

02:37:01                       Hey,                                                                            0

                               Can someone from the office visit the confluence page for P supported devices
                               list

                               https://conflu.office.corp/display/lAPC/



                               and update the lists in the owncloud?

                               ownCloud\Presales\PGS\Supported devices & Release Notes




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           Case 4:19-cv-07123-PJH             Document 677-2        Filed 04/04/25           Page 35 of 99
02:58:09                    I will after lunch                                                               0




03:00:46                    Thanks. Also features and capabilities. Please update when you do.               0


03:02:24                    .I.-y), c1.5-4J                                                                  0




03:04:24                    Lii,.9:;          1                                                              0


03:44:19                    Done                                                                             0




11:11:28                    Good evening everyone. After a long day of work and issues with momenta          0
                            installation. We have run a test:

                            - Successful installation on iOs 11.4.4 (Phone X (PXL cell)

                            - successful auto-install installation (PXL WiFi) on S8 android 8.

11:11:38                    i    (4 4,16                                                                     0


11:12:13                     e„al ii, ;f                                                                     0




11:12:26                    Well done (!) for a long long effort. Good luck in the demo tomorrow!!           0


11:12:30                    Well done guys! Glad to hear. Good luck tomorrow                                 0




11:12:30                    Good luck !                                                                      0




11:14:46                    Good news! Nice to head?!                                                        0




11:15:22                    Good luck guys! You rock                                                         0


11:26:41                    Good luck tomorrow                                                               0




11:28:25                     Good luck champ                                                                 0




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11:38:58                    Great!                                                        0

                            Good luck


11:45:59                    Thx guys and girl                                             0




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 Custodian:              Shaner, Josh
                                                                                          EXHIBIT
                                                                                      0 ?C)37
Application:             WhatsApp

Active Participants:




Other Recipients:                                                                                      osh Shaner




Date/Time Start:         05/12/2019 08:31 AM

Date/Time End:           05/12/2019 11:58 AM




Time           From             Message Body                                                                        Deleted

08:31:19                        < 47015109-d5c7-4d8b-a7bb-777a2e4c3bcd.jpg >                                        0




08:32:00                        Congrats to         and         for leading a complex PiXcell POC in the city of    0
                                Jerusalem.

                                Bravo guys

08:33:59                        Kings!!0±50±56                                                                      0




08:35:48                        I made my warrior face                                                              0




08:36:17                        Horror face after locking the target                                                0


08:37:07                        Great job guys !                                                                    0

                                Waiting to hesr about it in the office




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09:56:36                     Hi team,                                                                             0

                             I am sure most of you already heard about Eden

                             Just making sure every one is alligned

                             So bottom line, Eden has finished its duty with us as a patch was done on the
                             server side with the application it works with



                            I heard some sales managers taking it in a dramatic way, your job is to make
                            sure they remeber that along the years NS0 has proven time after time that
                            one of its biggest value is   the ability to "survive" this harsh enviorment of the
                            cat and mouse game



                            At this point all demos will move to

                            1 click Android

                            0 click ios



                            R&D are working hard on different directions, hopfully we will have good news
                            soon but please rember that our technological status is still great as we (as a
                            company) have the resources to find some thing new in a relatively short time

09:58:34                             would vote for you!                                                          0


09:59:16                    0,-                                                                                   0




10:00:10                    L,                                                                                    0




11:58:02                    Amazing job and well done you 2 Pixcell warriors t•                                   0




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Custodian:                 Shaner, Josh
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Application:               WhatsApp

Active Participants:




Other Recipients:
                                                                Josh Shaner




Date/Time Start:           05/08/2019 01:29 AM

Date/Time End:             05/08/2019 01:59 PM




Time           From               Message Body                                                          Deleted

01:29:19                          Done with demo                                                        0




01:29:21                          Thanks                                                                0




01:33:47                                         - any news about this one?                             0




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                             SHANER_WHATSAPP_00001480
01:36:36                   I talked yesterday
            Case 4:19-cv-07123-PJH            to
                                         Documentand would check.
                                                  677-2    Filed No more news.Page
                                                                  04/04/25     I tested
                                                                                     42again
                                                                                        of 99and                  0
                             didn't work. Then I used Sales 3.



                                      has demo today in Buick, will use Sales 3 I guess.

01:38:27                     Ok, a reminder for everyone: if you want (and you should want) that the              0
                             support will investigate a failure you encountered, you should send     &
                                   an email with the details and out      in CC.



                             And please do it: imitate investigations, for the sake of future demos and the
                             product in general...p

01:47:51                     Still waiting for confirmation but it could be a really big one with the President   0
                             of Brazil; will keep updated as it happens.


01:52:36                     not sure i understood. Are you going to test Eden on sales 3? would be good if       0
                             you could as part of your demo preparations. Like       mentioned above, if
                             you do encounter any issue, please contact support and provide the relevant
                             information for their investigation. Thanks.

01:59:25                     Yesterday from Porsche, I worked with      and then With         all details         0
                             given. No much more for me to do. They would investigate the issue.... on their
                             hands.

                             I am talking about Sales 6.

                             Sales 3 worked well for me.

02:19:01                     Yes you're right          I meant sales 6. FYI                                       0




02:32:14                     hey, the WA credentials blocked again yesterday, I added 2 new pairs to sales6. 0

                             you may use it again with 2 Eden attacks per hour for now.

02:33:45                     Thanks                                                                               0

                                                  if you could test Eden on sales 6 and update, that would be
                             great

03:44:00                     Good morning from Brasilia team,                                                     0

                             Sent a zero click from Sales 6 ID 625 at 08:09; received first WA call at 08:37 -
                             no joined call.

                             Received second WA call at 07:41hs - no joined call. Installation status FAILED
                             DUE TO INTERACTION. Device not touched. Cheers

03:47:41                     hi                                                                                   0

                             please take it with support offline so they can investigate.

                             thanks




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                 SHANER_WHATSAPP_00001481
04:48:22                   Hi team SalesDocument
            Case 4:19-cv-07123-PJH      6 Android zero click failed
                                                    677-2           twice;
                                                                 Filed        looking
                                                                       04/04/25       into it.
                                                                                    Page    43I'm
                                                                                                ofmoving
                                                                                                  99       0
                              to Sales 3 now. Any objections pls?


07:49:50                      Demo at 20:30IL all vectors Sales 3.                                         0




10:58:55                      Demo finished. Total success.                                                0




11:09:02                      t, f                                                                         0




11:49:55                      Great                                                                        0




13:59:02                       4                                                                           0




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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,      Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                DEFENDANTS NSO GROUP
                                                 TECHNOLOGIES LIMITED AND Q
13                                               CYBER TECHNOLOGIES LIMITED’S
                 Plaintiffs,
                                                 RESPONSES AND OBJECTIONS TO
14                                               PLAINTIFFS WHATSAPP, INC. AND
           v.
                                                 META PLATFORMS, INC. FKA
15                                               FACEBOOK, INC.’S FIRST SET OF
     NSO GROUP TECHNOLOGIES LTD.
     and Q CYBER TECHNOLOGIES LTD.,              REQUESTS FOR ADMISSION
16
                 Defendants.                     HIGHLY CONFIDENTIAL-
17                                               ATTORNEY’S EYES ONLY
18

19
     PROPOUNDING PARTY:          WHATSAPP LLC fka WHATSAPP INC. AND META
20
                                 PLATFORMS, INC. fka FACEBOOK, INC.
21
     RESPONDING PARTY:           DEFENDANTS NSO GROUP TECHNOLOGIES LIMITED
22
                                 AND Q CYBER TECHNOLOGIES LIMITED.
23
     SET NO.:                    ONE (1)
24

25
     DEFENDANTS HEREBY DESIGNATE THESE RESPONSES AS HIGHLY
26
     CONFIDENTIAL-ATTORNEY’S EYES ONLY UNDER THE PROTECTIVE ORDER
27
     ENTERED IN THIS CASE
28
      DEFENDANTS’ RESPONSES AND OBJECTIONS                             Case No. 4:19-cv-07123-
      TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR                                            PJH
      ADMISSION
 Case 4:19-cv-07123-PJH           Document 677-2          Filed 04/04/25      Page 46 of 99




 1          In accordance with Rules 26 and 36 of the Federal Rules of Civil Procedure, NSO Group

 2   Technologies Limited (“NSO”) and Q Cyber Technologies Limited (“Q Cyber”) (collectively,

 3 “Defendants”), by and through their undersigned counsel, hereby respond and object to Plaintiffs

 4 WhatsApp LLC and Meta Platforms, Inc.’s (“Plaintiffs”) First Set of Requests for Admission

 5 (collectively, the “Requests” and each, individually, a “Request”) served by Plaintiffs on March 7,

 6 2023, as follows.

 7                                      GENERAL OBJECTIONS

 8          1.      The responses to the Requests are made solely for the purpose of this action.

 9          2.      Defendants object to the Requests to the extent that they purport to impose

10   requirements or obligations different from or beyond those imposed by the Federal Rules of Civil

11   Procedure or the Local Rules of this Court.

12          3.      Each response is made solely with regard to the subject matter directly at issue in

13   this action during the timeframe relevant to this action.

14          4.      Each response is made subject to all objections as to competence, relevance,

15   materiality, propriety, admissibility, privilege, privacy, proprietary information, trade secrets, and

16   the like, and any and all other objections on grounds that would require the exclusion of any

17   response herein if such were offered in Court, all of which objections and grounds are reserved

18   and may be interposed at any time, including at the time of trial.

19          5.      Defendants object to the extent that the Requests seek information not relevant to

20   the claims or defenses of any party.

21          6.      Defendants object to the extent that the Requests are unlimited in scope or time.

22          7.      Defendants’ responses are not intended to be, and shall not be construed as, a

23   waiver of any objection(s) to the Requests.

24          8.      No incidental or implied admissions are intended in these responses. Defendants’

25   response to any Request should not be taken as an admission that Defendants accept or admit the

26   existence of any fact(s) or any document(s) assumed by that Request or that such response

27   constitutes admissible evidence.

28
       DEFENDANTS’ RESPONSES AND                      1                         Case No. 4:19-cv-07123-PJH
       OBJECTIONS TO PLAINTIFFS’ FIRST SET
       OF REQUESTS FOR ADMISSION
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 1          9.      Defendants have not completed their investigation of the facts related to this case,

 2   discovery in this action, or preparation for trial. These responses are based upon information

 3   known at this time and are given without prejudice to Defendants’ right to amend, supplement, or

 4 revise these responses with any subsequently-discovered information. Defendants expressly

 5 reserve the right to make such additional or modified responses as may be appropriate.

 6                               OBJECTIONS TO THE DEFINITIONS

 7          1.      Definition No. 1 (“Attack Period”): Defendants object to the definition of “Attack

 8   Period” as biased and prejudicial. Defendants’ products are used for law enforcement purposes.

 9   Accordingly, to the extent Defendants’ products were used in the conduct alleged in this action, if

10   at all, such use is not fairly characterized as an “Attack.”

11          2.      Definition No. 4 (“Control”): Defendants object to the definition of “Control” as

12   vague and ambiguous and overbroad. The definition accounts for a wide variety of conduct beyond

13   any common sense understanding of the word control. While the ability to “direct” can be

14   understood as a form of control, a person can readily “manage,” “use,” “access,” and “modify”

15   something without controlling it. Moreover, having the “ability to” do something, as stated in the

16   definition of “Control,” is distinct from exercising that ability, as the Requests seem use the term.

17   That contrast renders the term Control vague and ambiguous. Responding to any Request which

18   utilizes this definition would create impressible vagueness and ambiguity. Defendants interpret

19   the term “Control” to mean having the ability to exclude all others from accessing.

20          3.      Definition No. 5 (“Device”): Defendants object to the definition of “Device” as

21   vague, ambiguous and overbroad, because it purports to encompass any “electronic device.” That

22   circular definition—using the word device to define the word device—renders “Device” vague

23   and ambiguous. To the extent the definition to intended to encompass any electronic object, the

24   definition would be overbroad and responding to any Request which incorporate this definition

25   would be unduly burdensome and not proportional to the needs of the case. Defendants interpret

26 the term “Device” to mean a computer, mobile phone or server.

27          4.      Definition No. 8 (“NSO Spyware”): Defendants object to the definition of “NSO

28
       DEFENDANTS’ RESPONSES AND                       2                       Case No. 4:19-cv-07123-PJH
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 1   Spyware” as biased and prejudicial. The term “Spyware” is an inherently pejorative term that

 2   baselessly maligns Defendants’ products. Defendants will not refer to their products—which are

 3 used by law enforcement to catch the worst of criminals—as “Spyware.” Defendants further object

 4 to the overbroad scope of this definition. Any Request incorporating this definition would seek

 5 information related to technologies other than the Pegasus technology (“Pegasus”) that was used

 6 with respect to the approximately 1,400 “Target Devices” described in the Complaint (Dkt. No. 1

 7 at 2:6-7). Any technology other than Pegasus has no relevance to Plaintiffs’ allegations or any

 8 issue in this case. Because responding to any Request which incorporates this definition would be

 9 unduly burdensome and not proportional to the needs of the case, Defendants interpret the term

10 “NSO Spyware” to mean the version of Pegasus in effect during April and May of 2019 that was

11 allegedly used to access the approximately 1,400 “Target Devices” described in the Complaint.

12          5.      Definition No. 11 (“Person(s)”): Defendants object to Plaintiffs’ definition of

13 “Person(s)” as vague, ambiguous and overbroad. This definition includes 16 distinct roles or types

14 of entities. Responding to any Request which relies on such a broad definition of “Person,”

15 moreover, would be unduly burdensome and not proportional to the needs of the case.

16          6.      Definition No. 12 (“Technology”): Defendants’ object to Plaintiffs’ definition of

17 “Technology” as vague and ambiguous and overbroad.                Plaintiffs’ definition is extremely

18 expansive and responding to any Requests which incorporate this definition would be unduly

19 burdensome and not proportional to the needs of the case.

20          7.      Definition No. 13 (“WestBridge”): Defendants’ object to Plaintiffs’ definition of

21 “WestBridge” as vague and ambiguous and overbroad. It is unclear whether Plaintiffs’ definition

22 of WestBridge, which includes “affiliates,” is intended to include Defendants.              Defendants

23 interpret the term “WestBridge” to include only WestBridge Technologies, Inc. and its employees.

24          8.      Definition No. 15 (“You” or “Your”): Defendants object to Plaintiffs’ definition

25   of “You” and “Your” as vague and ambiguous and overbroad. Under the guise of these words,

26   Plaintiffs improperly sweep in a host of people and entities, including Defendants’ “current and

27   former directors, employees, subsidiaries, corporate parents, affiliates, agents, representatives, and

28
       DEFENDANTS’ RESPONSES AND                      3                         Case No. 4:19-cv-07123-PJH
       OBJECTIONS TO PLAINTIFFS’ FIRST SET
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 1   all other persons acting or purporting to act on its behalf.” Responding to any Request which

 2   incorporates this term would be unduly burdensome and not proportional to the needs of the case.

 3   Unless otherwise indicated, any response to the Requests containing the term “You” or “Your” is

 4   limited to Defendants NSO and Q Cyber and their employees.

 5                              OBJECTIONS TO THE INSTRUCTIONS

 6          1.      NSO objects to Plaintiffs’ Instruction No. 1 to the extent it seeks to impose any

 7   obligation that is inconsistent with the scope of discovery permitted under the Federal Rules of

 8   Civil Procedure. NSO further objects to Plaintiffs’ Instruction No. 1 to the extent that the terms in

 9   Plaintiff’s requests are objectionable.

10          2.      NSO objects to Plaintiffs’ Instruction No. 4 to the extent it is inconsistent with or

11   omits parts of Fed. R. Civ. P. 26(e), which defines a party’s obligations to supplement.

12          3.      NSO objects to Plaintiffs’ Instructions Nos. 5, 6, 7, and 8 to the extent these

13 instructions are inconsistent with or omits parts of Fed. R. Civ. P. 36(a)(4), which states how a

14   party must answer a request for admission.

15                                 OBJECTIONS TO THE REQUESTS

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       DEFENDANTS’ RESPONSES AND                      4                        Case No. 4:19-cv-07123-PJH
       OBJECTIONS TO PLAINTIFFS’ FIRST SET
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     DEFENDANTS’ RESPONSES AND               5                     Case No. 4:19-cv-07123-PJH
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     DEFENDANTS’ RESPONSES AND               6                     Case No. 4:19-cv-07123-PJH
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     DEFENDANTS’ RESPONSES AND               7                     Case No. 4:19-cv-07123-PJH
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 4   REQUEST FOR ADMISSION NO. 6:

 5          Admit that since July 19, 2020, You have performed a demonstration of NSO Spyware for

 6   a Person located outside Israel.

 7   RESPONSE TO REQUEST FOR ADMISSION NO. 6:

 8          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 9   and Objections to the Instructions as if set forth herein. Defendants object that the word

10   “demonstration” is vague and ambiguous in the context of this Request. Defendants further object

11   to this Request as it seeks information regarding a time period of nearly three years that is not

12   relevant to the issues in the litigation. The relevant time period for this action is January 2018

13 through May 13, 2019, and information outside that time period is not relevant to any party’s claim

14   or defense nor proportional to the needs of the case. Defendants further object to Plaintiffs’ use of

15   the term “You” as overbroad, vague, unduly burdensome, and not proportional to the needs of the

16   case. Defendants cannot reasonably respond on behalf of the many people potentially included by

17   that term, and any response is limited to the acts of defendants NSO Group and Q Cyber that are

18   known to their management and legal personnel. Defendants further object to this Request to the

19   extent Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than Pegasus

20   (i.e. the version in effect at the relevant time period for this action that was allegedly used with

21   respect to the approximately 1,400 Target Devices described in the Complaint) on the basis that

22   no other products are relevant to Plaintiffs’ allegations in the Complaint. Defendants further object

23   to the extent they are prohibited from disclosing the requested information by any Israeli law,

24   regulation, or governmental order or directive, or any other applicable law, regulation, or

25   governmental order or directive. Defendants further object on the ground and to the extent that

26   this Request seeks private, proprietary, trade secret, or confidential business information.

27   ///

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       DEFENDANTS’ RESPONSES AND                      8                        Case No. 4:19-cv-07123-PJH
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 1   REQUEST FOR ADMISSION NO. 7:

 2           Admit that since July 19, 2020, You have shared information concerning Your finances

 3   with a Person located outside Israel.

 4   RESPONSE TO REQUEST FOR ADMISSION NO. 7:

 5           Defendants incorporate by reference the General Objections, Objections to the Definitions,

 6   and Objections to the Instructions as if set forth herein. Defendants object that the words “shared,”

 7 “finances,” and “located” are vague and ambiguous in the context of this Request. The word

 8 “located,” in particular, is subject to multiple meanings that are materially different as it could

 9 refer to a person’s physical location, place of residence, state of incorporation, or operating or

10 headquarters location(s), among other definitions. Defendants further object because, in light of

11 these ambiguities and Plaintiffs’ overbroad definition of the term “Person(s),” responding to this

12 Request would be unduly burdensome. Defendants further object to Plaintiffs’ use of the term

13 “You” as overbroad, vague, unduly burdensome, and not proportional to the needs of the case.

14 Defendants cannot reasonably respond on behalf of the many people potentially included by that

15 term, and any response is limited to the acts of defendants NSO Group and Q Cyber that are known

16 to their management and legal personnel. Defendants further object to this Request as it seeks

17 information regarding a time period of nearly three years that is not relevant to the issues in the

18 litigation. The relevant time period for this action is January 2018 through May 13, 2019, and

19 information outside that time period is not relevant to any party’s claim or defense nor proportional

20 to the needs of the case. Defendants further object to the extent they are prohibited from disclosing

21 the requested information by any Israeli law, regulation, or governmental order or directive, or any

22 other applicable law, regulation, or governmental order or directive. Defendants further object on

23 the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

24 business information.

25 REQUEST FOR ADMISSION NO. 8:

26           Admit that since July 19, 2020, You have shared documentation about NSO Spyware with

27   a Person located outside Israel.

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       DEFENDANTS’ RESPONSES AND                      9                         Case No. 4:19-cv-07123-PJH
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 1   RESPONSE TO REQUEST FOR ADMISSION NO. 8:

 2           Defendants incorporate by reference the General Objections, Objections to the Definitions,

 3   and Objections to the Instructions as if set forth herein. Defendants object that the words “shared,”

 4 “documentation,” and “located” are vague and ambiguous in the context of this Request. The word

 5 “located,” in particular, is subject to multiple meanings that are materially different as it could

 6 refer to a person’s physical location, place of residence, state of incorporation, or operating or

 7 headquarters location(s), among other definitions. Defendants further object because, in light of

 8   these ambiguities and Plaintiffs’ overbroad definition of the term “Person(s),” responding to this

 9 Request would be unduly burdensome. Defendants further object to Plaintiffs’ use of the term

10 “You” as overbroad, vague, unduly burdensome, and not proportional to the needs of the case.

11 Defendants cannot reasonably respond on behalf of the many people potentially included by that

12 term, and any response is limited to the acts of defendants NSO Group and Q Cyber that are known

13 to their management and legal personnel. Defendants further object to this Request as it seeks

14 information regarding a time period of nearly three years that is not relevant to the issues in the

15 litigation. The relevant time period for this action is January 2018 through May 13, 2019, and

16 information outside that time period is not relevant to any party’s claim or defense nor proportional

17 to the needs of the case. Defendants further object to this Request to the extent that it falsely

18 implies that persons, teams, groups, divisions or sections at NSO deploy, use, or operate Pegasus

19 or any other technology within the definition of “NSO Spyware.” Defendants further object to

20 this Request to the extent Plaintiffs intend for the phrase “NSO Spyware” to refer to any product

21 other than the relevant version Pegasus (i.e. the version in effect at the relevant time period for this

22 action that was allegedly used with respect to the approximately 1,400 Target Devices described

23 in the Complaint ) on the basis that no other products are relevant to Plaintiffs’ allegations in the

24 Complaint. Defendants further object to the extent they are prohibited from disclosing the

25 requested information by any Israeli law, regulation, or governmental order or directive, or any

26 other applicable law, regulation, or governmental order or directive. Defendants further object on

27 the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

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       DEFENDANTS’ RESPONSES AND                      10                        Case No. 4:19-cv-07123-PJH
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 1   business information.

 2   REQUEST FOR ADMISSION NO. 9:

 3          Admit that since July 19, 2020, You have caused the distribution and licensed use of NSO

 4   Spyware to a Person located outside Israel.

 5 RESPONSE TO REQUEST FOR ADMISSION NO. 9:

 6          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 7   and Objections to the Instructions as if set forth herein. Defendants object that the words “caused,”

 8   “distribution,” “use,” and “located” are vague and ambiguous in the context of this Request.

 9   Plaintiffs’ use of the word “caused” here is vague and ambiguous because any license is subject to

10   approval of the Government of Israel Ministry of Defense. Accordingly, Defendants are not in a

11   position to make representations as to the decisions of its regulators and cannot determine what

12   “caused the distribution and licensed use” of Pegasus. The word “located,” moreover, is subject

13   to multiple meanings that are materially different as it could refer to a person’s physical location,

14   place of residence, state of incorporation, or operating or headquarters location(s), among other

15   definitions. Defendants further object because, in light of these ambiguities and Plaintiffs’

16   overbroad definition of the term “Person(s),” responding this Request would be unduly

17   burdensome. Defendants further object to Plaintiffs’ use of the term “You” as overbroad, vague,

18   unduly burdensome, and not proportional to the needs of the case. Defendants cannot reasonably

19   respond on behalf of the many people potentially included by that term, and any response is limited

20   to the acts of defendants NSO Group and Q Cyber that are known to their management and legal

21   personnel. Defendants further object to this Request as it seeks information regarding a time period

22   of nearly three years that is not relevant to the issues in the litigation. The relevant time period for

23   this action is January 2018 through May 13, 2019, and information outside that time period is not

24   relevant to any party’s claim or defense nor proportional to the needs of the case. Defendants

25   further object to this Request to the extent that it falsely implies that persons, teams, groups,

26   divisions or sections at NSO deploy, use, or operate Pegasus or any other technology within the

27   definition of “NSO Spyware.” Defendants further object to this Request to the extent Plaintiffs

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       DEFENDANTS’ RESPONSES AND                       11                        Case No. 4:19-cv-07123-PJH
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 1   intend for the phrase “NSO Spyware” to refer to any product other than the relevant version of

 2   Pegasus (i.e. the version in effect at the relevant time period for this action that was allegedly used

 3   with respect to the approximately 1,400 Target Devices described in the Complaint) on the basis

 4 that no other products are relevant to Plaintiffs’ allegations in the Complaint. Defendants further

 5 object to the extent they are prohibited from disclosing the requested information by any Israeli

 6 law, regulation, or governmental order or directive, or any other applicable law, regulation, or

 7 governmental order or directive. Defendants further object on the ground and to the extent that

 8 this Request seeks private, proprietary, trade secret, or confidential business information.

 9          Subject to and without waiving those objections, Defendants respond as follows: Admit.

10   REQUEST FOR ADMISSION NO. 10:
11          Admit that You developed NSO Spyware.

12   RESPONSE TO REQUEST FOR ADMISSION NO. 10:

13          Defendants incorporate by reference the General Objections, Objections to the Definitions,

14   and Objections to the Instructions as if set forth herein. Defendants object that the word

15   “developed” is vague and ambiguous in the context of this Request. Defendants further object to

16   Plaintiffs’ use of the term “You” as overbroad, vague, unduly burdensome, and not proportional

17   to the needs of the case. Defendants cannot reasonably respond on behalf of the many people

18   potentially included by that term, and any response is limited to the acts of defendants NSO Group

19   and Q Cyber that are known to their management and legal personnel. Defendants further object

20   to this Request to the extent that it falsely implies that persons, teams, groups, divisions or sections

21   at NSO deploy, use, or operate Pegasus or any other technology within the definition of “NSO

22   Spyware.” Defendants further object to this Request to the extent Plaintiffs intend for the phrase

23   “NSO Spyware” to refer to any product other than the relevant version of Pegasus (i.e. the version

24 in effect at the relevant time period for this action that was allegedly used with respect to the

25 approximately 1,400 Target Devices described in the Complaint) on the basis that no other

26 products are relevant to Plaintiffs’ allegations in the Complaint. Defendants further object to the

27 extent they are prohibited from disclosing the requested information by any Israeli law, regulation,

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       DEFENDANTS’ RESPONSES AND                       12                        Case No. 4:19-cv-07123-PJH
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 1   or governmental order or directive, or any other applicable law, regulation, or governmental order

 2   or directive. Defendants further object on the ground and to the extent that this Request seeks

 3   private, proprietary, trade secret, or confidential business information.

 4          Subject to and without waiving those objections, Defendants respond as follows: Admit.

 5   REQUEST FOR ADMISSION NO. 11:

 6          Admit that a version of NSO Spyware is named “Pegasus.”

 7   RESPONSE TO REQUEST FOR ADMISSION NO. 11:

 8          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 9   and Objections to the Instructions as if set forth herein. Defendants object that the phrase “a

10   version of NSO Spyware” is vague and ambiguous in the context of this Request, given Plaintiffs’

11 overbroad definition of NSO Spyware. Defendants further object to this Request to the extent

12 Plaintiffs intend for the phrase “NSO Spyware” to refer to any product the relevant version of

13 Pegasus (i.e. the version in effect at the relevant time period for this action that was allegedly used

14 with respect to the approximately 1,400 Target Devices described in the Complaint) on the basis

15 that no other products are relevant to Plaintiffs’ allegations in the Complaint. Defendants further

16 object to the extent they are prohibited from disclosing the requested information by any Israeli

17 law, regulation, or governmental order or directive, or any other applicable law, regulation, or

18 governmental order or directive. Defendants further object on the ground and to the extent that

19 this Request seeks private, proprietary, trade secret, or confidential business information.

20          Subject to and without waiving those objections, Defendants respond as follows: Admit.

21 REQUEST FOR ADMISSION NO. 12:

22          Admit that Exhibit 10 to the Complaint accurately described the functionality of NSO

23   Spyware named “Pegasus.”

24   RESPONSE TO REQUEST FOR ADMISSION NO. 12:

25          Defendants incorporate by reference the General Objections, Objections to the Definitions,

26   and Objections to the Instructions as if set forth herein. Defendants object that the word

27   “functionality” is vague and ambiguous in the context of this Request. Because no one document

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       DEFENDANTS’ RESPONSES AND                     13                          Case No. 4:19-cv-07123-PJH
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 1   can describe the “functionality” of complex software in full, it is not possible for Defendants to

 2   answer this Request without Plaintiff specifying which aspects of Pegasus’s “functionality” they

 3 which to confirm are described “accurately.” Defendants object that this request is vague and

 4 ambiguous as to time, because the technology at issue changes over time. Defendants note that

 5 Exhibit 10 to the Complaint states that “We … release[] major upgrades to the Pegasus system [a]

 6 few times a year.” Thus, in the absence of Plaintiffs specifying a specific time period for the

 7 Request, Defendants cannot state if the document is accurate as a particular version of Pegasus.

 8 For the same reason, responding to this Request as stated would be unduly burdensome and not

 9 proportional to the needs of the case. Defendants further object to this Request to the extent

10 Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than the relevant

11 version of Pegasus (i.e. the version in effect at the relevant time period for this action that was

12 allegedly used with respect to the approximately 1,400 Target Devices described in the Complaint)

13 on the basis that no other products are relevant to Plaintiffs’ allegations in the Complaint.

14 Defendants further object to the extent they are prohibited from disclosing the requested

15 information by any Israeli law, regulation, or governmental order or directive, or any other

16 applicable law, regulation, or governmental order or directive. Defendants further object on the

17 ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

18 business information.

19          Subject to and without waiving those objections, Defendants respond as follows: Exhibit

20 10 to the Complaint appears to be an authentic copy of a document authored by Defendants titled

21 “Pegasus-Product Description,” which described some features of Pegasus at the time it was

22 written, which Defendants believe occurred in 2012. Exhibit 10 is therefore of no relevance to

23 Plaintiff’s allegations, which start in 2018. Except as expressly admitted herein, Defendants deny

24 the request.

25 REQUEST FOR ADMISSION NO. 13:

26          Admit that You created the original version of the Exhibit 10 attached to the Complaint.

27   ///

28
       DEFENDANTS’ RESPONSES AND                    14                       Case No. 4:19-cv-07123-PJH
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 1   RESPONSE TO REQUEST FOR ADMISSION NO. 13:

 2          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 3   and Objections to the Instructions as if set forth herein. Defendants further object to Plaintiffs’

 4   use of the term “You” as overbroad, vague, unduly burdensome, and not proportional to the needs

 5   of the case. Defendants cannot reasonably respond on behalf of the many people potentially

 6   included by that term, and any response is limited to the acts of defendants NSO Group and Q

 7   Cyber that are known to their management and legal personnel. Defendants further object to the

 8   extent they are prohibited from disclosing the requested information by any Israeli law, regulation,

 9   or governmental order or directive, or any other applicable law, regulation, or governmental order

10   or directive. Defendants further object on the ground and to the extent that this Request seeks

11   private, proprietary, trade secret, or confidential business information.

12          Subject to and without waiving those objections, Defendants respond as follows: Exhibit

13   10 to the Complaint appears to be an authentic copy of a document authored by Defendants titled

14   “Pegasus-Product Description,” which described some features of Pegasus at the time it was

15   written, which Defendants believe occurred in 2012. Exhibit 10 is therefore of no relevance to

16   Plaintiff’s allegations, which start in 2018. Except as expressly admitted herein, Defendants deny

17   the request.

18   REQUEST FOR ADMISSION NO. 14:

19          Admit that Exhibit 10 to the Complaint accurately describes the “System Setup and

20   Training” You provide to Persons using NSO Spyware.

21   RESPONSE TO REQUEST FOR ADMISSION NO. 14:

22          Defendants incorporate by reference the General Objections, Objections to the Definitions,

23   and Objections to the Instructions as if set forth herein. Defendants object that the words

24   “accurately” and “Persons” are vague and ambiguous in the context of this Request. Defendants

25   object that this request is vague and ambiguous as to time, because the technology at issue changes

26   over time. Defendants note that Exhibit 10 to the Complaint states that “We … release[] major

27   upgrades to the Pegasus system [a] few times a year.” For the same reason, responding to this

28
       DEFENDANTS’ RESPONSES AND                     15                          Case No. 4:19-cv-07123-PJH
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 1   Request as stated would be unduly burdensome and not proportional to the needs of the case.

 2   Defendants further object to Plaintiffs’ use of the term “You” as overbroad, vague, unduly

 3 burdensome, and not proportional to the needs of the case. Defendants cannot reasonably respond

 4 on behalf of the many people potentially included by that term, and any response is limited to the

 5 acts of defendants NSO Group and Q Cyber that are known to their management and legal

 6 personnel. Defendants further object to this Request as it seeks information regarding Defendants’

 7 practices but does not specify the applicable time period for the request. Responding to such a

 8 request would be unduly burdensome and is not feasible. In any event, the relevant time period

 9 for this action is January 2018 through May 13, 2019, and information outside that time period is

10 not relevant to any party’s claim or defense nor proportional to the needs of the case. In light of

11 Plaintiffs’ use of the word “provide,” Defendants further object to this Request to the extent that

12 it falsely implies that persons, teams, groups, divisions or sections at NSO deploy, use, or operate

13 Pegasus or any other technology within the definition of “NSO Spyware.” Defendants further

14 object to this Request to the extent Plaintiffs intend for the phrase “NSO Spyware” to refer to any

15 product other than the relevant version of Pegasus (i.e. the version in effect at the relevant time

16 period for this action that was allegedly used with respect to the approximately 1,400 Target

17 Devices described in the Complaint) on the basis that no other products are relevant to Plaintiffs’

18 allegations in the Complaint. Defendants further object to the extent they are prohibited from

19 disclosing the requested information by any Israeli law, regulation, or governmental order or

20 directive, or any other applicable law, regulation, or governmental order or directive. Defendants

21 further object on the ground and to the extent that this Request seeks private, proprietary, trade

22 secret, or confidential business information.

23          Subject to and without waiving those objections, Defendants respond as follows: Exhibit

24 10 to the Complaint appears to be an authentic copy of a document authored by Defendants titled

25 “Pegasus-Product Description,” which described some features of Pegasus at the time it was

26 written, which Defendants believe occurred in 2012. Exhibit 10 is therefore of no relevance to

27 Plaintiff’s allegations, which start in 2018. Except as expressly admitted herein, Defendants deny

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       DEFENDANTS’ RESPONSES AND                    16                       Case No. 4:19-cv-07123-PJH
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 1   the request.

 2   REQUEST FOR ADMISSION NO. 15:

 3          Admit that a version of NSO Spyware is named “Phantom.”

 4   RESPONSE TO REQUEST FOR ADMISSION NO. 15:

 5          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 6   and Objections to the Instructions as if set forth herein. Defendants object that the phrase “version

 7   of NSO Spyware” is vague and ambiguous in the context of this Request. Defendants further

 8   object to this Request as it seeks information regarding Defendants’ products without stating a

 9   period for the request. The relevant time period for this action is January 2018 through May 13,

10   2019, and information outside that time period is not relevant to any party’s claim or defense nor

11   proportional to the needs of the case. Defendants further object to this Request to the extent

12   Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than the relevant

13   version of Pegasus (i.e. the version in effect at the relevant time period for this action that was

14 allegedly used with respect to the approximately 1,400 Target Devices described in the Complaint)

15   on the basis that no other products are relevant to Plaintiffs’ allegations in the Complaint.

16   Defendants further object to the extent they are prohibited from disclosing the requested

17   information by any Israeli law, regulation, or governmental order or directive, or any other

18   applicable law, regulation, or governmental order or directive. Defendants further object on the

19   ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

20   business information.

21          Subject to and without waiving those objections, Defendants respond as follows: Denied.

22   REQUEST FOR ADMISSION NO. 16:

23          Admit that You licensed use of NSO Spyware during the 2019 Attack Period.

24 RESPONSE TO REQUEST FOR ADMISSION NO. 16:

25          Defendants incorporate by reference the General Objections, Objections to the Definitions,

26   and Objections to the Instructions as if set forth herein. Defendants object that the words

27   “licensed,” “use,” and “the 2019 Attack Period” are vague and ambiguous in the context of this

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       DEFENDANTS’ RESPONSES AND                     17                        Case No. 4:19-cv-07123-PJH
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 1   Request. The approval of any license is subject to approval of the Government of Israel Ministry

 2   of Defense and Defendants are not in a position to make representations as to the decisions of its

 3   regulators. Defendants further object to this request to the extent it implies that Defendants operate

 4   Pegasus. Defendants further object to Plaintiffs’ use of the term “You” as overbroad, vague,

 5   unduly burdensome, and not proportional to the needs of the case. Defendants cannot reasonably

 6   respond on behalf of the many people potentially included by that term, and any response is limited

 7   to the acts of defendants NSO Group and Q Cyber that are known to their management and legal

 8   personnel. Defendants further object to this Request to the extent that it falsely implies that

 9   persons, teams, groups, divisions or sections at NSO deploy, use, or operate Pegasus or any other

10   technology within the definition of “NSO Spyware.” Defendants further object to this Request to

11   the extent Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than the

12   relevant version of Pegasus (i.e. the version in effect at the relevant time period for this action that

13   was allegedly used with respect to the approximately 1,400 Target Devices described in the

14   Complaint)on the basis that no other products are relevant to Plaintiffs’ allegations in the

15   Complaint. Defendants further object to the phrase “2019 Attack Period” to the extent it implies

16   any “attack” occurred. Defendants’ products assist law enforcement in protecting the public and

17   are used for investigative purposes, not in “attacks.” Defendants further object to the extent they

18   are prohibited from disclosing the requested information by any Israeli law, regulation, or

19   governmental order or directive, or any other applicable law, regulation, or governmental order or

20   directive. Defendants further object on the ground and to the extent that this Request seeks private,

21   proprietary, trade secret, or confidential business information.

22          Subject to and without waiving those objections, Defendants respond as follows: Admit

23   that licenses of Pegasus were in effect during the period April 29, 2019 to May 10, 2019. Except

24 as expressly admitted herein, Defendants deny the request.

25 REQUEST FOR ADMISSION NO. 17:

26          Admit that NSO Spyware is capable of collecting information from a Device.

27 / / /

28
       DEFENDANTS’ RESPONSES AND                       18                        Case No. 4:19-cv-07123-PJH
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 1   RESPONSE TO REQUEST FOR ADMISSION NO. 17:

 2          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 3   and Objections to the Instructions as if set forth herein. Defendants object that the word “Device”

 4   is vague and ambiguous in the context of this Request, is improperly defined and overbroad.

 5   Defendants further object to this Request to the extent that it falsely implies that persons, teams,

 6   groups, divisions or sections at NSO deploy, use, or operate Pegasus or any other technology

 7   within the definition of “NSO Spyware.” Defendants further object to this Request to the extent

 8   Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than the relevant

 9   version of Pegasus (i.e. the version in effect at the relevant time period for this action that was

10   allegedly used with respect to the approximately 1,400 Target Devices described in the Complaint)

11   on the basis that no other products are relevant to Plaintiffs’ allegations in the Complaint.

12   Defendants further object to the extent they are prohibited from disclosing the requested

13   information by any Israeli law, regulation, or governmental order or directive, or any other

14   applicable law, regulation, or governmental order or directive. Defendants further object on the

15   ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

16   business information.

17          Subject to and without waiving those objections, Defendants respond as follows: Admit.

18   REQUEST FOR ADMISSION NO. 18:

19          Admit that NSO Spyware is designed to collect information from a Device.

20   RESPONSE TO REQUEST FOR ADMISSION NO. 18:

21          Defendants incorporate by reference the General Objections, Objections to the Definitions,

22   and Objections to the Instructions as if set forth herein. Defendants object that the terms “Device”

23 and “designed” are vague and ambiguous in the context of this Request. The term “Device” is

24 improperly defined and is overbroad. Defendants further object to this Request to the extent that

25 it falsely implies that persons, teams, groups, divisions or sections at NSO deploy, use, or operate

26 Pegasus or any other technology within the definition of “NSO Spyware.” Defendants further

27 object to this Request to the extent the word “designed,” in conjunction with “NSO Spyware” or

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 1   any aspect of the Requests, suggests Defendants acted with any improper or unlawful intent or

 2   purpose at any time. Defendants further object to this Request to the extent Plaintiffs intend for

 3   the phrase “NSO Spyware” to refer to any product other than the relevant version of Pegasus (i.e.

 4   the version in effect at the relevant time period for this action that was allegedly used with respect

 5   to the approximately 1,400 Target Devices described in the Complaint) on the basis that no other

 6   products are relevant to Plaintiffs’ allegations in the Complaint. Defendants further object to the

 7   extent they are prohibited from disclosing the requested information by any Israeli law, regulation,

 8   or governmental order or directive, or any other applicable law, regulation, or governmental order

 9   or directive. Defendants further object on the ground and to the extent that this Request seeks

10   private, proprietary, trade secret, or confidential business information.

11          Subject to and without waiving those objections, Defendants respond as follows: Admit.

12   REQUEST FOR ADMISSION NO. 19:

13          Admit that NSO Spyware is marketed for the purpose of collecting information from a

14   Device.

15   RESPONSE TO REQUEST FOR ADMISSION NO. 19:

16          Defendants incorporate by reference the General Objections, Objections to the Definitions,

17   and Objections to the Instructions as if set forth herein. Defendants object that the word “Device,”

18   “purpose,” and “marketed” is vague and ambiguous in the context of this Request. The term

19   “Device” is improperly defined and is overbroad. The term marketed, moreover, could refer to a

20   prohibitively broad set of activities, such that responding to this Request as stated would be unduly

21   burdensome and not proportional to the needs of the case. It is also unreasonable and unduly

22   burdensome for Defendants to ascribe a single “purpose” to the marketing of Pegasus, if any.

23   Defendants further object to this Request to the extent that it falsely implies that persons, teams,

24   groups, divisions or sections at NSO deploy, use, or operate Pegasus or any other technology

25   within the definition of “NSO Spyware.” Defendants further object to this Request to the extent

26   the word “marketed,” in conjunction with “NSO Spyware” or any aspect of the Requests, suggests

27   Defendants acted with any improper or unlawful intent or purpose at any time. Defendants further

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 1   object to this Request to the extent Plaintiffs intend for the phrase “NSO Spyware” to refer to any

 2   product other than the relevant version of Pegasus (i.e. the version in effect at the relevant time

 3   period for this action that was allegedly used with respect to the approximately 1,400 Target

 4   Devices described in the Complaint) on the basis that no other products are relevant to Plaintiffs’

 5   allegations in the Complaint. Defendants further object to the extent they are prohibited from

 6   disclosing the requested information by any Israeli law, regulation, or governmental order or

 7   directive, or any other applicable law, regulation, or governmental order or directive. Defendants

 8   further object on the ground and to the extent that this Request seeks private, proprietary, trade

 9   secret, or confidential business information.

10          Subject to and without waiving those objections, Defendants respond as follows: Admit

11   that Defendants’ marketing of Pegasus has included that Pegasus is capable of collecting

12   information from mobile devices.

13   REQUEST FOR ADMISSION NO. 20:

14          Admit that the use of WhatsApp is governed by the WhatsApp Terms of Service.

15   RESPONSE TO REQUEST FOR ADMISSION NO. 20:

16          Defendants incorporate by reference the General Objections, Objections to the Definitions,

17 and Objections to the Instructions as if set forth herein. Defendants object that this request calls

18 for a legal conclusion. Defendants object that the terms “use of” and “governed by” are vague and

19 ambiguous. Defendants further object on the basis that responding to this Request calls for a legal

20 conclusion insofar the Request requires Defendants to assess whether certain conduct is governed

21 by an agreement. Defendants further object that they lack sufficient knowledge or information to

22 respond to this Request, particularly as the hypothetical and undefined “use” in this Request

23 corresponds to Plaintiffs’ software application and Plaintiffs’ terms of service, not Defendants’

24 software or terms.

25          Subject to and without waiving those objections, Defendants respond that they lack

26 information sufficient to enable them to truthfully admit or deny the request, and therefore deny it

27 on that basis.

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 1   REQUEST FOR ADMISSION NO. 21:

 2          Admit that You agreed to the WhatsApp Terms of Service prior to or during the 2019

 3   Attack Period.

 4   RESPONSE TO REQUEST FOR ADMISSION NO. 21:

 5          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 6   and Objections to the Instructions as if set forth herein. Defendants object that this request calls

 7   for a legal conclusion. Defendants object that the phrase “agreed to” is vague and ambiguous in

 8   the context of this Request. In addition to being a complex question involving various factors not

 9   readily assessable in the context of a discovery response, whether an entity has agreed to terms of

10   service presents multiple questions of law. Accordingly, Defendants object to this Request as it

11 calls for a legal conclusion. Defendants further object to the phrase “2019 Attack Period” to the

12 extent it implies any “attack” occurred. Defendants’ products assist law enforcement in protecting

13 the public and are used for investigative purposes, not in “attacks.” Defendants further object to

14 Plaintiffs’ use of the term “You” as overbroad, vague, and unduly burdensome. Defendants cannot

15 reasonably respond on behalf of the many people potentially included by that term, and any

16 response is limited to the acts of defendants NSO Group and Q Cyber that are known to their

17 management and legal personnel. Defendants further object to the extent they are prohibited from

18 disclosing the requested information by any Israeli law, regulation, or governmental order or

19 directive, or any other applicable law, regulation, or governmental order or directive. Defendants

20 further object on the ground and to the extent that this Request seeks private, proprietary, trade

21 secret, or confidential business information.

22          Subject to and without waiving those objections, Defendants respond as follows: Denied.

23   REQUEST FOR ADMISSION NO. 22:

24          Admit that You used WhatsApp prior to or during the 2019 Attack Period.

25   RESPONSE TO REQUEST FOR ADMISSION NO. 22:

26          Defendants incorporate by reference the General Objections, Objections to the Definitions,

27   and Objections to the Instructions as if set forth herein. Defendants object that the word “used” is

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 1   vague and ambiguous in the context of this Request, especially in combination with the term

 2   “You.” Defendants further object to Plaintiffs’ use of the term “You” as overbroad, vague, and

 3   unduly burdensome. Defendants cannot reasonably respond on behalf of the many people

 4   potentially included by that term, and any response is limited to the acts of defendants NSO Group

 5   and Q Cyber that are known to their management and legal personnel. Defendants further object

 6   to the phrase “2019 Attack Period” to the extent it implies any “attack” occurred. Defendants’

 7   products assist law enforcement in protecting the public and are used for investigative purposes,

 8   not in “attacks.” Defendants further object to this request on the basis that they lack sufficient

 9   knowledge or information to respond to this Request, particularly as Pegasus is operated by NSO’s

10   sovereign customers. Defendants further object to the extent they are prohibited from disclosing

11   the requested information by any Israeli law, regulation, or governmental order or directive, or any

12   other applicable law, regulation, or governmental order or directive. Defendants further object on

13   the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

14   business information.

15           Subject to and without waiving those objections, Defendants respond as follows:

16   Defendants admit that certain of their employees are among the nearly 2 billion people who

17   reportedly used WhatsApp in 2019, including during the period between April 29, 2019 and May

18 10, 2019.

19 REQUEST FOR ADMISSION NO. 23:

20           Admit that You used WhatsApp Computers to install or attempt to install NSO Spyware to

21   a Device.

22   RESPONSE TO REQUEST FOR ADMISSION NO. 23:

23           Defendants incorporate by reference the General Objections, Objections to the Definitions,

24   and Objections to the Instructions as if set forth herein. Defendants object that the terms “used,”

25   “Device,” and “attempt to install” are vague and ambiguous in the context of this Request,

26   particularly in conjunction with the term “You.” Defendants further object to Plaintiffs’ use of the

27 term “You” as overbroad, vague, and unduly burdensome. Defendants cannot reasonably respond

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 1   on behalf of the many people potentially included by that term, and any response is limited to the

 2   acts of defendants NSO Group and Q Cyber that are known to their management and legal

 3 personnel. Defendants further object to this Request to the extent that it falsely implies that

 4 persons, teams, groups, divisions or sections at NSO deploy, use, or operate Pegasus or any other

 5 technology within the definition of “NSO Spyware.” Defendants further object to this Request to

 6 the extent Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than the

 7   relevant version of Pegasus (i.e. the version in effect at the relevant time period for this action that

 8   was allegedly used with respect to the approximately 1,400 Target Devices described in the

 9   Complaint) on the basis that no other products are relevant to Plaintiffs’ allegations in the

10   Complaint. Defendants further object to the extent they are prohibited from disclosing the

11   requested information by any Israeli law, regulation, or governmental order or directive, or any

12   other applicable law, regulation, or governmental order or directive. Defendants further object on

13   the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

14   business information.

15           Subject to and without waiving those objections, Defendants respond as follows: Denied.

16   REQUEST FOR ADMISSION NO. 24:

17           Admit that You did not have permission from WhatsApp or Meta to install or attempt to

18   install NSO Spyware using WhatsApp Computers.

19   RESPONSE TO REQUEST FOR ADMISSION NO. 24:

20           Defendants incorporate by reference the General Objections, Objections to the Definitions,

21   and Objections to the Instructions as if set forth herein. Defendants object that the phrase “attempt

22   to install” is vague and ambiguous in the context of this Request, as it is not clear what constitutes

23   “attempt[ing] to install.” Defendants object that the request implies that Defendants installed or

24   attempted to install NSO Spyware using WhatsApp Computers, which is not true or accurate.

25   Defendants object to Plaintiffs’ use of the term “You” as overbroad, vague, and unduly

26   burdensome. Defendants cannot reasonably respond on behalf of the many people potentially

27   included by that term, and any response is limited to the acts of defendants NSO Group and Q

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 1   Cyber that are known to their management and legal personnel. Defendants further object to

 2   Plaintiffs’ use of the term “install” to the extent is miscomprehends or misstates how Pegasus

 3   functions, including because Pegasus would not require that anything be installed on a “WhatsApp

 4   Computer,” even if used in connection Plaintiffs’ allegations. Defendants further object to this

 5   Request to the extent that it falsely implies that persons, teams, groups, divisions or sections at

 6   NSO deploy, use, or operate Pegasus or any other technology within the definition of “NSO

 7   Spyware.” Defendants further object to this Request to the extent Plaintiffs intend for the phrase

 8   “NSO Spyware” to refer to any product other than the relevant version of Pegasus (i.e. the version

 9   in effect at the relevant time period for this action that was allegedly used with respect to the

10   approximately 1,400 Target Devices described in the Complaint) on the basis that no other

11   products are relevant to Plaintiffs’ allegations in the Complaint. Defendants further object to the

12   extent they are prohibited from disclosing the requested information by any Israeli law, regulation,

13   or governmental order or directive, or any other applicable law, regulation, or governmental order

14   or directive. Defendants further object on the ground and to the extent that this Request seeks

15   private, proprietary, trade secret, or confidential business information.

16          Subject to and without waiving those objections, Defendants respond as follows: Denied.

17   REQUEST FOR ADMISSION NO. 25:

18          Admit that Exhibit A to the Complaint, starting on page 8 of Exhibit 11 to the Complaint,

19   accurately describes Your “Systems and Services,” as defined in Exhibit A to the Complaint, as of

20   December 17, 2015.

21   RESPONSE TO REQUEST FOR ADMISSION NO. 25:

22          Defendants incorporate by reference the General Objections, Objections to the Definitions,

23   and Objections to the Instructions as if set forth herein. Defendants object that the phrase “Exhibit

24   A to the Complaint, starting on page 8 of Exhibit 11 to the Complaint” is vague and ambiguous.

25   Defendants interpret this request as asking about Exhibit A to Exhibit 11 to the Complaint.

26   Defendants further object that the words “as of” are vague and ambiguous in the context of this

27   Request as they could mean “on” or “since.” Defendants object that the term “accurately” is vague

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 1   and ambiguous in the context of this Request as the time period for this Request is unclear. In the

 2   absence of Plaintiffs specifying a time period for the Request, Defendants cannot state if the

 3   document is accurate as to any “Systems and Services” at the time. Defendants further object to

 4   this Request to the extent that it seeks information prior to January 2018. The relevant time period

 5   for this action is January 2018 through May 13, 2019, and information outside that time period is

 6   not relevant to any party’s claim or defense nor proportional to the needs of the case. Defendants

 7   further object to the phrase “Your ‘Systems and Services’” because Plaintiffs’ overbroad definition

 8   for “Your” renders this request vague, overbroad, unduly burdensome, and not proportional to the

 9   needs of the case. Defendants further object to the extent the phrase “your ‘Systems and Services’”

10   implicitly seeks information regarding any product other than the relevant version of Pegasus (i.e.

11   the version in effect at the relevant time period for this action that was allegedly used with respect

12   to the approximately 1,400 Target Devices described in the Complaint) on the basis that no other

13   products are relevant to Plaintiffs’ allegations in the Complaint. Defendants further object to the

14   extent they are prohibited from disclosing the requested information by any Israeli law, regulation,

15   or governmental order or directive, or any other applicable law, regulation, or governmental order

16   or directive. Defendants further object on the ground and to the extent that this Request seeks

17   private, proprietary, trade secret, or confidential business information.

18          Subject to and without waiving those objections, Defendants respond as follows:

19   Defendants lack information sufficient to enable them to truthfully admit or deny whether Exhibit

20   A to Exhibit 11 to the Complaint is authentic. Defendants admit that Exhibit A appears to describe

21   certain aspects of a technology system that was to be provided in 2015 pursuant to a contract.

22   Except as expressly admitted herein, Defendants deny the request.

23   REQUEST FOR ADMISSION NO. 26:

24          Admit that Exhibit A-1 to the Complaint, starting on page 9 of Exhibit 11 to the Complaint,

25   accurately describes the “Features and Capabilities” of NSO Spyware, as of December 17, 2015.

26   RESPONSE TO REQUEST FOR ADMISSION NO. 26:

27          Defendants incorporate by reference the General Objections, Objections to the Definitions,

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 1   and Objections to the Instructions as if set forth herein. Defendants object that the phrase “Exhibit

 2   A-1 to the Complaint, starting on page 9 of Exhibit 11 to the Complaint” is vague and ambiguous.

 3 Defendants interpret this request as asking about Exhibit A-1 to Exhibit 11 to the Complaint.

 4 Defendants further object that the words “as of” are vague and ambiguous in the context of this

 5 Request as they could mean “on” or “since.” Defendants object that the term “accurately” is vague

 6 and ambiguous in the context of this Request as the time period for this Request is unclear. In the

 7 absence of Plaintiffs specifying a time period for the Request, Defendants cannot state if the

 8   document is accurate as to any “Features and Capabilities” at the time. Defendants further object

 9   to this Request to the extent that it seeks information prior to January 2018. The relevant time

10   period for this action is January 2018 through May 13, 2019, and information outside that time

11   period is not relevant to any party’s claim or defense nor proportional to the needs of the case.

12   Defendants further object to this Request to the extent that it falsely implies that persons, teams,

13   groups, divisions or sections at NSO deploy, use, or operate Pegasus or any other technology

14   within the definition of “NSO Spyware.” Defendants further object to this Request to the extent

15   Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than the relevant

16   version of Pegasus (i.e. the version in effect at the relevant time period for this action that was

17   allegedly used with respect to the approximately 1,400 Target Devices described in the

18   Complaint)on the basis that no other products are relevant to Plaintiffs’ allegations in the

19   Complaint. Defendants further object to the extent they are prohibited from disclosing the

20   requested information by any Israeli law, regulation, or governmental order or directive, or any

21   other applicable law, regulation, or governmental order or directive. Defendants further object on

22   the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

23   business information.

24           Subject to and without waiving those objections, Defendants respond as follows:

25   Defendants lack information sufficient to enable them to truthfully admit or deny whether Exhibit

26   A-1 to Exhibit 11 to the Complaint is authentic. Defendants admit that Exhibit A-1 to Exhibit 11

27   appears to describe certain aspects of a technology system that was to be provided in 2015 pursuant

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 1   to a contract. Except as expressly admitted herein, Defendants deny the request.

 2   REQUEST FOR ADMISSION NO. 27:

 3          Admit that Exhibit B to the Complaint titled “Considerations,” starting on page 32 of

 4   Exhibit 11 to the Complaint, accurately describes payments to be made to You for “the provision

 5   of the License, System, and Services” related to Pegasus, as of December 17, 2015.

 6 RESPONSE TO REQUEST FOR ADMISSION NO. 27:

 7          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 8   and Objections to the Instructions as if set forth herein. Defendants object that the term “You”

 9   renders this Request vague, ambiguous, unduly burdensome and not proportional to the needs of

10   the case. Any response is limited to Defendants NSO and Q Cyber. Defendants further object that

11   the words “as of” are vague and ambiguous in the context of this Request as they could mean “on”

12   or “since.” Defendants object that the term “accurately” is vague and ambiguous in the context of

13   this Request as the time period for this Request is unclear. In the absence of Plaintiffs specifying

14   a time period for the Request, Defendants cannot state if Exhibit B is accurate as to any payments.

15   Defendants further object to this Request to the extent that it seeks information for multiple years

16   or information prior to January 2018. The relevant time period for this action is January 2018

17 through May 13, 2019, and information outside that time period is not relevant to any party’s claim

18 or defense nor proportional to the needs of the case. Defendants further object to the extent they

19 are prohibited from disclosing the requested information by any Israeli law, regulation, or

20 governmental order or directive, or any other applicable law, regulation, or governmental order or

21 directive. Defendants further object on the ground and to the extent that this Request seeks private,

22 proprietary, trade secret, or confidential business information.

23          Subject to and without waiving those objections, Defendants respond as follows: Denied.

24 REQUEST FOR ADMISSION NO. 28:

25          Admit that Exhibit C to the Complaint, starting on page 33 of Exhibit 11 to the Complaint,

26   accurately describes the “Installation Requirements” of NSO Spyware as of December 17, 2015.

27   ///

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 1   RESPONSE TO REQUEST FOR ADMISSION NO. 28:

 2          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 3   and Objections to the Instructions as if set forth herein. Defendants object that the phrase “Exhibit

 4   C to the Complaint, starting on page 33 of Exhibit 11 to the Complaint” is vague and ambiguous.

 5   Defendants interpret this request as asking about Exhibit C to Exhibit 11 to the Complaint.

 6   Defendants further object that the words “as of” are vague and ambiguous in the context of this

 7   Request as they could mean “on” or “since.” Defendants object that the term “accurately” is vague

 8   and ambiguous in the context of this Request as the time period for this Request is unclear.

 9   Defendants further object to this Request to the extent that it seeks information for multiple years

10   or information prior to January 2018. The relevant time period for this action is January 2018

11   through May 13, 2019, and information outside that time period is not relevant to any party’s claim

12   or defense nor proportional to the needs of the case. Defendants further object to this Request to

13   the extent that it falsely implies that persons, teams, groups, divisions or sections at NSO deploy,

14   use, or operate Pegasus or any other technology within the definition of “NSO Spyware.”

15   Defendants further object to this Request to the extent Plaintiffs intend for the phrase “NSO

16   Spyware” to refer to any product other than the relevant version of Pegasus (i.e. the version in

17   effect at the relevant time period for this action that was allegedly used with respect to the

18   approximately 1,400 Target Devices described in the Complaint) on the basis that no other

19   products are relevant to Plaintiffs’ allegations in the Complaint. Defendants further object to the

20   extent they are prohibited from disclosing the requested information by any Israeli law, regulation,

21   or governmental order or directive, or any other applicable law, regulation, or governmental order

22   or directive. Defendants further object on the ground and to the extent that this Request seeks

23   private, proprietary, trade secret, or confidential business information.

24          Subject to and without waiving those objections, Defendants respond as follows:

25   Defendants lack information sufficient to enable them to truthfully admit or deny whether Exhibit

26   C to Exhibit 11 to the Complaint is authentic. Defendants admit that Exhibit C to Exhibit 11

27   appears to describe certain aspects of a technology system that was to be provided in 2015 pursuant

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 1   to a contract. Except as expressly admitted herein, Defendants deny the request.

 2   REQUEST FOR ADMISSION NO. 29:

 3          Admit that Exhibit D to the Complaint, starting on page 34 of Exhibit 11 to the Complaint,

 4   is a true and accurate copy of a service level agreement between NSO Group Technologies Ltd.

 5   And Infralock Development Limited.

 6   RESPONSE TO REQUEST FOR ADMISSION NO. 29:

 7          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 8   and Objections to the Instructions as if set forth herein. Defendants further object to this Request

 9   to the extent that it seeks information for multiple years or information prior to January 2018. The

10   relevant time period for this action is January 2018 through May 13, 2019, and information outside

11   that time period is not relevant to any party’s claim or defense nor proportional to the needs of the

12   case. Defendants further object to the extent they are prohibited from disclosing the requested

13   information by any Israeli law, regulation, or governmental order or directive, or any other

14 applicable law, regulation, or governmental order or directive. Defendants object on the basis that

15   they are not permitted under Israeli law and their agreement to disclose the identity of any potential

16   customers. Defendants further object on the ground and to the extent that this Request seeks

17   private, proprietary, trade secret, or confidential business information.

18          Subject to and without waiving those objections, Defendants respond as follows: Denied.

19   REQUEST FOR ADMISSION NO. 30:

20          Admit that You owned or Controlled servers used to install NSO Spyware.

21   RESPONSE TO REQUEST FOR ADMISSION NO. 30:

22          Defendants incorporate by reference the General Objections, Objections to the Definitions,

23   and Objections to the Instructions as if set forth herein. Defendants further object that the term

24   “Controlled” is vague and ambiguous in the context of this Request; Defendants interpret

25 “Control” to mean having the ability to exclude all others from accessing. Defendants further

26 object to Plaintiffs’ use of the term “You” as overbroad, vague, unduly burdensome, and not

27 proportional to the needs of the case. Defendants cannot reasonably respond on behalf of the many

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 1   people potentially included by that term, and any response is limited to the acts of defendants NSO

 2   Group and Q Cyber that are known to their management and legal personnel. Defendants further

 3   object on the basis that the Request does not specify the applicable time period. The relevant time

 4   period for this action is January 2018 through May 13, 2019, and information outside that time

 5   period is not relevant to any party’s claim or defense nor proportional to the needs of the case.

 6   Defendants further object to this Request to the extent that it falsely implies that persons, teams,

 7   groups, divisions or sections at NSO deploy, use, or operate Pegasus or any other technology

 8   within the definition of “NSO Spyware.” Defendants further object to this Request to the extent

 9   Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than the relevant

10   version of Pegasus (i.e. the version in effect at the relevant time period for this action that was

11   allegedly used with respect to the approximately 1,400 Target Devices described in the Complaint)

12   on the basis that no other products are relevant to Plaintiffs’ allegations in the Complaint.

13   Defendants further object to the extent they are prohibited from disclosing the requested

14   information by any Israeli law, regulation, or governmental order or directive, or any other

15   applicable law, regulation, or governmental order or directive. Defendants further object on the

16   ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

17   business information.

18          Subject to and without waiving those objections, Defendants respond as follows: Denied.

19   REQUEST FOR ADMISSION NO. 31:

20          Admit that You provided technical support to Persons using NSO Spyware.

21 RESPONSE TO REQUEST FOR ADMISSION NO. 31:

22          Defendants incorporate by reference the General Objections, Objections to the Definitions,

23   and Objections to the Instructions as if set forth herein. Defendants further object that the terms

24   “provided” and “technical support” as vague and ambiguous in the context of this Request,

25   particularly given the breadth of people and entities included as “Persons.” Defendants further

26   object because, in light of Plaintiffs’ overbroad definition of the term “Person(s),” responding this

27 Request would be unduly burdensome. Defendants object that the term “You” renders this Request

28
       DEFENDANTS’ RESPONSES AND                     31                        Case No. 4:19-cv-07123-PJH
       OBJECTIONS TO PLAINTIFFS’ FIRST SET
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 1   vague, ambiguous, unduly burdensome and not proportional to the needs of the case. Defendants

 2   cannot reasonably respond on behalf of the many people potentially included by that term, and any

 3   response is limited to the acts of defendants NSO Group and Q Cyber that are known to their

 4   management and legal personnel. Defendants further object on the basis that the Request does not

 5   specify the applicable time period. The relevant time period for this action is January 2018 through

 6   May 13, 2019, and information outside that time period is not relevant to any party’s claim or

 7   defense nor proportional to the needs of the case. As the Requests use the term “provides,”

 8   Defendants further object to this Request to the extent that it falsely implies that persons, teams,

 9   groups, divisions or sections at NSO deploy, use, or operate Pegasus or any other technology

10   within the definition of “NSO Spyware.” Defendants further object to this Request to the extent

11   Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than the relevant

12   version of Pegasus (i.e. the version in effect at the relevant time period for this action that was

13   allegedly used with respect to the approximately 1,400 Target Devices described in the

14   Complaint)on the basis that no other products are relevant to Plaintiffs’ allegations in the

15   Complaint. Defendants further object to the extent they are prohibited from disclosing the

16   requested information by any Israeli law, regulation, or governmental order or directive, or any

17   other applicable law, regulation, or governmental order or directive. Defendants further object on

18   the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

19   business information.

20           Subject to and without waiving those objections, Defendants respond as follows: Admit.

21   REQUEST FOR ADMISSION NO. 32:

22           Admit that Your support engineers could be reached at the phone number

23

24   RESPONSE TO REQUEST FOR ADMISSION NO. 32:

25           Defendants incorporate by reference the General Objections, Objections to the Definitions,

26   and Objections to the Instructions as if set forth herein. Defendants further object that the term

27   “support engineers” is vague and ambiguous in the context of this Request as the Requests fail to

28
       DEFENDANTS’ RESPONSES AND                       32                        Case No. 4:19-cv-07123-PJH
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 1   define this term. Defendants further object that the term “Your” renders this Request vague,

 2   ambiguous, unduly burdensome and not proportional to the needs of the case. Defendants cannot

 3   reasonably respond on behalf of the many people potentially included by that term, and any

 4   response is limited to the acts of defendants NSO Group and Q Cyber that are known to their

 5   management and legal personnel. Defendants further object on the basis that the Request is vague

 6   in that it does not specify the applicable time period. The relevant time period for this action is

 7   January 2018 through May 13, 2019, and information outside that time period is not relevant to

 8   any party’s claim or defense nor proportional to the needs of the case. Defendants further object

 9   to the extent they are prohibited from disclosing the requested information by any Israeli law,

10   regulation, or governmental order or directive, or any other applicable law, regulation, or

11   governmental order or directive. Defendants further object on the ground and to the extent that

12   this Request seeks private, proprietary, trade secret, or confidential business information.

13          Subject to and without waiving those objections, Defendants respond as follows: Admit.

14   REQUEST FOR ADMISSION NO. 33:

15          Admit that Your Technical Support Center could be reached at the e-mail address

16

17   RESPONSE TO REQUEST FOR ADMISSION NO. 33:

18          Defendants incorporate by reference the General Objections, Objections to the Definitions,

19   and Objections to the Instructions as if set forth herein. Defendants further object that the term

20   “Technical Support Center” is vague and ambiguous in the context of this Request as the Requests

21   fail to define this term. Defendants further object that the term “Your” renders this Request vague,

22   ambiguous, unduly burdensome and not proportional to the needs of the case. Defendants cannot

23   reasonably respond on behalf of the many people potentially included by that term, and any

24   response is limited to the acts of defendants NSO Group and Q Cyber that are known to their

25   management and legal personnel. Defendants further object because Defendants lack sufficient

26   knowledge or information to respond to this Request on the basis that the email address appears to

27   be operated by a third party entity. Defendants further object on the basis that the Request does

28
       DEFENDANTS’ RESPONSES AND                     33                        Case No. 4:19-cv-07123-PJH
       OBJECTIONS TO PLAINTIFFS’ FIRST SET
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 1   not specify the applicable time period. The relevant time period for this action is January 2018

 2   through May 13, 2019, and information outside that time period is not relevant to any party’s claim

 3   or defense nor proportional to the needs of the case. Defendants further object to the extent they

 4   are prohibited from disclosing the requested information by any Israeli law, regulation, or

 5   governmental order or directive, or any other applicable law, regulation, or governmental order or

 6   directive. Defendants further object on the ground and to the extent that this Request seeks private,

 7   proprietary, trade secret, or confidential business information.

 8          Subject to and without waiving those objections, Defendants respond as follows: Admit.

 9   REQUEST FOR ADMISSION NO. 34:

10          Admit that, between April 29, 2019 and May 10, 2019, WestBridge used, caused to be

11   used, and Controlled the Device associated with the phone number

12   RESPONSE TO REQUEST FOR ADMISSION NO. 34:

13          Defendants incorporate by reference the General Objections, Objections to the Definitions,

14   and Objections to the Instructions as if set forth herein. Defendants further object that the terms

15   “used, caused to be used,” “Controlled,” and “Device” as vague and ambiguous. Defendants

16   interpret “Control” to mean having the ability to exclude all others from accessing. Defendants

17   further object to the extent they are prohibited from disclosing the requested information by any

18   Israeli law, regulation, or governmental order or directive, or any other applicable law, regulation,

19   or governmental order or directive. Defendants further object on the ground and to the extent that

20   this Request seeks private, proprietary, trade secret, or confidential business information.

21          Subject to and without waiving those objections, Defendants respond as follows:

22   Defendants lack information sufficient to enable them to truthfully admit or deny the Request, and

23   therefore deny it on that basis.

24   REQUEST FOR ADMISSION NO. 35:

25          Admit that between April 29, 2019 and May 10, 2019, WestBridge employee Josh Shaner,

26   used, caused to be used, and Controlled the Device associated with the phone number

27

28
       DEFENDANTS’ RESPONSES AND                     34                        Case No. 4:19-cv-07123-PJH
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 1   RESPONSE TO REQUEST FOR ADMISSION NO. 35:

 2          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 3   and Objections to the Instructions as if set forth herein. Defendants further object that the terms

 4   “used, caused to be used,” “Controlled,” and “Device” are vague and ambiguous in the context of

 5   this Request. Defendants interpret “Control” to mean having the ability to exclude all others from

 6   accessing. Defendants further object to the extent they are prohibited from disclosing the requested

 7   information by any Israeli law, regulation, or governmental order or directive, or any other

 8 applicable law, regulation, or governmental order or directive. Defendants further object on the

 9   ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

10   business information.

11          Subject to and without waiving those objections, Defendants respond as follows:

12   Defendants lack information sufficient to enable them to truthfully admit or deny the Request, and

13   therefore deny it on that basis.

14   REQUEST FOR ADMISSION NO. 36:

15          Admit that You used, caused to be used, and Controlled the WhatsApp account associated

16   with phone number                   during the 2019 Attack Period.

17   RESPONSE TO REQUEST FOR ADMISSION NO. 36:

18          Defendants incorporate by reference the General Objections, Objections to the Definitions,

19   and Objections to the Instructions as if set forth herein. Defendants further object that the terms

20   “associate with,” “used, caused to be used,” and “Controlled” are vague, ambiguous, unduly

21   burdensome, and not proportional to the needs of the case. Defendants interpret “Control” to mean

22   having the ability to exclude all others from accessing. Defendants further object to the phrase

23   “2019 Attack Period” to the extent it implies any “attack” occurred. Defendants’ products assist

24   law enforcement in protecting the public and are used for investigative purposes, not in “attacks.”

25   Defendants further object to Plaintiffs’ use of the term “You” as overbroad, vague, unduly

26   burdensome, and not proportional to the needs of the case. Defendants cannot reasonably respond

27   on behalf of the many people potentially included by that term, and any response is limited to the

28
       DEFENDANTS’ RESPONSES AND                     35                       Case No. 4:19-cv-07123-PJH
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 1   acts of defendants NSO Group and Q Cyber that are known to their management and legal

 2 personnel. Defendants further object to the extent they are prohibited from disclosing the

 3 requested information by any Israeli law, regulation, or governmental order or directive, or any

 4 other applicable law, regulation, or governmental order or directive. Defendants further object on

 5 the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

 6   business information.

 7          Subject to and without waiving those objections, Defendants respond as follows:

 8   Defendants lack information sufficient to enable them to truthfully admit or deny the Request, and

 9   therefore deny it on that basis.

10   REQUEST FOR ADMISSION NO. 37:

11          Admit that You used, caused to be used, and Controlled the WhatsApp account associated

12 with phone number                      during the 2019 Attack Period.

13   RESPONSE TO REQUEST FOR ADMISSION NO. 37:

14          Defendants incorporate by reference the General Objections, Objections to the Definitions,

15   and Objections to the Instructions as if set forth herein. Defendants further object that the terms

16   “associate with,” “used, caused to be used,” and “Controlled” are vague, ambiguous, unduly

17 burdensome, and not proportional to the needs of the case. Defendants interpret “Control” to mean

18   having the ability to exclude all others from accessing. Defendants further object to the phrase

19   “2019 Attack Period” to the extent it implies any “attack” occurred. Defendants’ products assist

20   law enforcement in protecting the public and are used for investigative purposes, not in “attacks.”

21   Defendants further object to Plaintiffs’ use of the term “You” as overbroad, vague, unduly

22   burdensome, and not proportional to the needs of the case. Defendants cannot reasonably respond

23   on behalf of the many people potentially included by that term, and any response is limited to the

24   acts of defendants NSO Group and Q Cyber that are known to their management and legal

25 personnel. Defendants further object to the extent they are prohibited from disclosing the

26 requested information by any Israeli law, regulation, or governmental order or directive, or any

27 other applicable law, regulation, or governmental order or directive. Defendants further object on

28
       DEFENDANTS’ RESPONSES AND                      36                        Case No. 4:19-cv-07123-PJH
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       OF REQUESTS FOR ADMISSION
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 1   the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

 2   business information.

 3           Subject to and without waiving those objections, Defendants respond as follows:

 4   Defendants lack information sufficient to enable them to truthfully admit or deny the Request, and

 5   therefore deny it on that basis.

 6   REQUEST FOR ADMISSION NO. 38:

 7           Admit that You had Control over the servers that resolve to the Internet Protocol (IP)

 8   address 54.93.81.200 during the 2019 Attack Period.

 9   RESPONSE TO REQUEST FOR ADMISSION NO. 39:

10           Defendants incorporate by reference the General Objections, Objections to the Definitions,

11   and Objections to the Instructions as if set forth herein. Defendants interpret “Control” to mean

12   having the ability to exclude all others from accessing. Defendants further object to the phrase

13   “2019 Attack Period” to the extent it implies any “attack” occurred. Defendants’ products assist

14   law enforcement in protecting the public and are used for investigative purposes, not in “attacks.”

15   Defendants further object to Plaintiffs’ use of the term “You” as overbroad, vague, unduly

16   burdensome, and not proportional to the needs of the case. Defendants cannot reasonably respond

17   on behalf of the many people potentially included by that term, and any response is limited to the

18   acts of defendants NSO Group and Q Cyber that are known to their management and legal

19 personnel. Defendants further object to the extent they are prohibited from disclosing the

20 requested information by any Israeli law, regulation, or governmental order or directive, or any

21 other applicable law, regulation, or governmental order or directive. Defendants further object on

22 the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

23 business information.

24 / / /

25 / / /

26 / / /

27 / / /

28
       DEFENDANTS’ RESPONSES AND                       37                        Case No. 4:19-cv-07123-PJH
       OBJECTIONS TO PLAINTIFFS’ FIRST SET
       OF REQUESTS FOR ADMISSION
 Case 4:19-cv-07123-PJH            Document 677-2        Filed 04/04/25    Page 83 of 99




 1          Subject to and without waiving those objections, Defendants respond as follows:

 2   Defendants lack information sufficient to enable them to truthfully admit or deny the Request, and

 3   therefore deny it on that basis.

 4

 5   Dated: April 17, 2023                        KING & SPALDING LLP
 6

 7                                                By:     /s/ Aaron S. Craig
                                                          JOSEPH N. AKROTIRIANAKIS
 8                                                        AARON S. CRAIG
 9                                                        Attorneys for Defendants NSO GROUP
                                                          TECHNOLOGIES LIMITED and Q
10                                                        CYBER TECHNOLOGIES LIMITED

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       DEFENDANTS’ RESPONSES AND                    38                       Case No. 4:19-cv-07123-PJH
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                                          PROOF OF SERVICE
 1

 2           I am a citizen of the United States and resident of the State of California. I am employed
     in the County of Los Angeles, State of California, in the office of a member of the bar of this
 3   Court, at whose direction this service was made. I am over the age of eighteen years and not a
     party to the within action.
 4
            On April 17, 2023, I served the following documents in the manner described below:
 5

 6        DEFENDANTS NSO GROUP TECHNOLOGIES LIMITED AND Q CYBER
       TECHNOLOGIES LIMITED’S RESPONSES AND OBJECTIONS TO PLAINTIFFS
 7    WHATSAPP, INC. AND META PLATFORMS, INC. FKA FACEBOOK, INC.’S FIRST
                       SET OF REQUESTS FOR ADMISSION
 8
             BY ELECTRONIC SERVICE: By electronically mailing a true and correct copy
 9            through King & Spalding LLP’s electronic mail system to the email addresses set
              forth below.
10
            On the following parties in this action:
11

12                            PLEASE SEE ATTACHED SERVICE LIST

13
            I declare under penalty of perjury under the laws of the State of California that the
14   foregoing is true and correct. Executed on April 17, 2023, at Los Angeles, California.

15
                                                   By:
16                                                           ADRIANA S. KIM
17

18

19

20

21

22

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27

28
       DEFENDANTS’ RESPONSES AND                       39                     Case No. 4:19-cv-07123-PJH
       OBJECTIONS TO PLAINTIFFS’ FIRST SET
       OF REQUESTS FOR ADMISSION
 Case 4:19-cv-07123-PJH       Document 677-2       Filed 04/04/25    Page 85 of 99




                                          SERVICE LIST
 1
     Greg D. Andres                                Craig T. Cagney
 2
     DAVIS POLK & WARDWELL LLP                     DAVIS POLK & WARDWELL LLP
 3   450 Lexington Avenue                          450 Lexington Avenue
     New York, New York 10017                      New York, New York 10017
 4   Telephone: (212) 450-4724                     Telephone: (212) 450-3162
     Email: greg.andres@davispolk.com              Email: craig.cagney@davispolk.com
 5
     Antonio J. Perez-Marques                      Micah G. Block
 6   DAVIS POLK & WARDWELL LLP                     DAVIS POLK & WARDWELL LLP
     450 Lexington Avenue                          1600 El Camino Real
 7
     New York, New York 10017                      Menlo Park, California 94025
 8   Telephone: (212) 450-4559                     Telephone: (650) 752-2000
     Email: antonio.perez@davispolk.com            Email: micah.block@davispolk.com
 9

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      DEFENDANTS’ RESPONSES AND               40                       Case No. 4:19-cv-07123-PJH
      OBJECTIONS TO PLAINTIFFS’ FIRST SET
      OF REQUESTS FOR ADMISSION
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              EXHIBIT 22
             FILED UNDER SEAL
            Case 4:19-cv-07123-PJH           Document 677-2             Filed 04/04/25          Page 87 of 99
 Custodian:              Shaner, Josh                                                                  $    EXHIBIT



 Application:            WhatsApp                                                                     g V-17-24 51)
 Active Participants:


 Other Recipients:
                                                                  Josh Shaner




Date/Time Start:        05/12/2019 12:58 AM

Date/Time End:          05/12/2019 06:16 AM




Time            From            Message i3ady                                                                   Deleted

00:58:39                                and I are starting a Sting POC in 10 min - sales3.                      0




05:12:59                        Tin. 5innn nipi-ra `71) 05"0 3                                                  0




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                   SHANER_WHATSAPP_00001487
           Case 4:19-cv-07123-PJH          Document 677-2           Filed 04/04/25          Page 88 of 99
05:13:01                 .   53 oiliopin                                                                     0



05:16:42                     Eden will not work ..                                                           0




05:17:40                     Wont it still work with earlier WA versions?                                    0




05:18:51                     No , per r&d they close vector from the server side .. so please don't try to   0
                             install hummingbird


05:27:48                                       ok ?                                                          0




05:39:23                     Ok                                                                              0




05:39:25                     Thanks                                                                          0




06:16:55                     Done with training                                                              0




 HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                             SHANER_WHATSAPP_00001488
Case 4:19-cv-07123-PJH   Document 677-2   Filed 04/04/25   Page 89 of 99




              EXHIBIT 32
             FILED UNDER SEAL
Custodian:                 DiVittorio, Terrence Document 677-2
                   Case 4:19-cv-07123-PJH                                     Filed 04/04/25      Page 90 of 99
Device:                      iPhone XS Max

Application:                 WhatsApp

Active Participants:         Terry DiVittorio



Date/Time Start:             01/31/2018 12:46 PM

Date/Time End:               01/31/2018 05:37 PM

Subject:



Time                                  Message Bo

12:46:57       Terry DiVittorio -     Hey man, any updates?




12:51:50                              Hey BrotherNot yetAssuming in probably 2-3 hours from now.Ill call you once I
                                      have theml also have an update for you in regards of G3 pgs demos


12:54:07       Terry DiVittorio -     Ok, we're in California, really good PGSS demo yesterday for the FBI here in Los
                                      Angles yesterday and demo'ing PiXcell for San Bernardino today. G3 is a mess,
                                      contract likely will be canceled next week, can't get                 to
                                      respond

12:54:47                              Embarrassing..




12:58:27       Terry DiVittorio -     And total disrespectful and unprofessional of                     at least
                                      when I WhatsApp         she replies


12:59:04                              Agree          is on vacation but still...




17:30:31       Terry DiVittorio -     Any updates?




17:34:04                              No man        just sent me a msg that they are still discussing




17:34:18                              As soon as I have new info ill call u




17:37:04       Terry DiVittorio -     Thanks man, we start the PiXcell demo in 20 minutes, will send you a msg
                                      when we finish, thanks.




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                                                   DIVITTORIO_WHATSAPP_00000003
17:37:23    Case 4:19-cv-07123-PJH
                            ill       Document 677-2   Filed 04/04/25   Page 91 of 99




HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY                          DIVITTORIO_WHATSAPP_00000004
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              EXHIBIT 35
             FILED UNDER SEAL
              Case 4:19-cv-07123-PJH               Document 677-2        Filed 04/04/25        Page 93 of 99



Name associated with phone number   Phone number      Country code     Produced document source       Confidentiality stamping
                                                      Israel           SHANER_WHATSAPP_00000950       Confidential
                                                      Israel           SHANER_WHATSAPP_00000950       Confidential
                                                      Israel           SHANER_WHATSAPP_00000950       Confidential
                                                      Israel           SHANER_WHATSAPP_00000951       Confidential
                                                      Israel           SHANER_WHATSAPP_00000951       Confidential
                                                      Israel           SHANER_WHATSAPP_00000951       Confidential
                                                      Israel           SHANER_WHATSAPP_00000951       Confidential
                                                      United States    SHANER_WHATSAPP_00000951       Confidential
                                                      Israel           SHANER_WHATSAPP_00000950       Confidential
                                                      Israel           SHANER_WHATSAPP_00000950       Confidential
                                                      Israel           SHANER_WHATSAPP_00000950       Confidential
                                                      Israel           SHANER_WHATSAPP_00000951       Confidential
                                                      Israel           SHANER_WHATSAPP_00000951       Confidential
                                                      Israel           SHANER_WHATSAPP_00000950       Confidential
Josh Shaner                                           United States    SHANER_WHATSAPP_00000950       Confidential
                                                      Israel           SHANER_WHATSAPP_00000950       Confidential
                                                      Uruguay          SHANER_WHATSAPP_00000950       Confidential
                                                      United Kingdom   SHANER_WHATSAPP_00000951       Confidential
                                                      Germany          SHANER_WHATSAPP_00000951       Confidential
                                                      Israel           SHANER_WHATSAPP_00000951       Confidential
                                                      Israel           SHANER_WHATSAPP_00000951       Confidential
                                                      Israel           SHANER_WHATSAPP_00000951       Confidential
                                                      Israel           SHANER_WHATSAPP_00000951       Confidential
                                                      Israel           SHANER_WHATSAPP_00000951       Confidential
                                                      Israel           SHANER_WHATSAPP_00000951       Confidential
                                                      Israel           SHANER_WHATSAPP_00000957       Confidential
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                                                      Israel           SHANER_WHATSAPP_00000951       Confidential
                                                      Israel           SHANER_WHATSAPP_00000950       Confidential
                                                      Israel           DIVITTORIO_WHATSAPP_00000128   Confidential
                                                      Israel           SHANER_WHATSAPP_00000951       Confidential
                                                      Israel           SHANER_WHATSAPP_00000950       Confidential
                                                      Israel           SHANER_WHATSAPP_00000950       Confidential
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                                                      Israel           SHANER_WHATSAPP_00000951       Confidential
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                                                      Israel           SHANER_WHATSAPP_00000951       Confidential




                                                             1 of 1
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              EXHIBIT 36
             FILED UNDER SEAL
Custodian:                 Shaner, Josh
                   Case 4:19-cv-07123-PJH         Document 677-2      Filed 04/04/25      Page 95 of 99


Application:               WhatsApp

Active Participants:


Other Recipients:                                       Josh Shaner




Date/Time Start:           09/16/2018 12:46 AM

Date/Time End:             09/16/2018 04:11 AM




Time           From                   essa e Bo                                                                 Deleted

00:46:26                          Hi everyone,                                                                  0

                                  Tomorrow sales 3 is going to be down from 9:30 to 11:30 in order to upgrade
                                  pgs 3 to the latest version

04:07:14                          Hey,                                                                          0

                                  Does anyone have        Signal Tours) number?

04:07:42                                                                                                        0




04:11:25                          Danke sehr!                                                                   0




CONFIDENTIAL                                                                             SHANER_WHATSAPP_00000950
Custodian:                 Shaner, Josh
                   Case 4:19-cv-07123-PJH        Document 677-2       Filed 04/04/25       Page 96 of 99


Application:               WhatsApp

Active Participants:


Other Recipients:
                                                                Josh Shaner




Date/Time Start:           09/17/2018 06:19 AM

Date/Time End:             09/17/2018 07:42 AM




Time           From               Message Body                                                                   Deleted

06:19:43                          Hi, will have no time to tests.   asked me to use sales 4 because sales 1 is   0
                                  going down. Please ensure all works well. Diablo, Heaven & lc. Thanks.

07:38:54                          Hi, need help on Heaven. NOC is busy, who else can help?                       0


07:41:33                          Hey, checking now.                                                             0




CONFIDENTIAL                                                                             SHANER_WHATSAPP_00000951
07:41:48       Case 4:19-cv-07123-PJH     Document 677-2
                              rrrrrrrrrrrrrrrrrrrrrr       Filed 04/04/25   Page 97 of 99    0


07:42:03                                                                                     0




CONFIDENTIAL                                                                SHANER_WHATSAPP_00000952
Custodian:                  Shaner, Josh
                   Case 4:19-cv-07123-PJH        Document 677-2          Filed 04/04/25      Page 98 of 99


Application:               WhatsApp

Active Participants:

Other Recipients:                                                                                      Josh Shaner




Date/Time Start:           09/24/2018 09:27 AM

Date/Time End:             09/24/2018 09:27 AM




 ime           From               Message Body                                                                       Deleted

09:27:29                          Hey.                                                                               0

                                  Im sorry if there was no clear message.

                                  Those days and until further notice:

                                  1. We can only use Sales 4.

                                  2. We can only demo Heaven, Diablo and Sting.



                                  No 1 click installation of any kind (including Link without SMS) is allowed due
                                  to OPSEC reasons that will be later on detailed to us all..




CONFIDENTIAL                                                                                SHANER_WHATSAPP_00000957
Custodian:                 DiVittorio, Terrence Document 677-2
                   Case 4:19-cv-07123-PJH                                       Filed 04/04/25   Page 99 of 99
Device:                      iPhone XS Max

Application:                 WhatsApp

Active Participants:         Terry DiVittorio



Date/Time Start:             04/02/2018 11:47 AM

Date/Time End:               04/02/2018 11:53 AM

Subject:



Time                                  Message Bo

11:47:30       Terry DiVittorio -     Hello         the NSA executive cannot meet with us next week, but agreed to
                                      the following week, 16-20 April. Should be able to confirm a date today or
                                      tomorrow. I will also have another meeting or two that week, one with the
                                      former CT0 of Dell,                who you met, who is now with company,
                                      Intelligent Decisions. They will be a new reseller partner but he wants to
                                      explore a hosted Phantom solution that would be managed in one of their
                                      secure data centers.

11:52:38                              Alright. I'll wait for the confirmation




11:53:20       Terry DiVittorio -     Thanks!




CONFIDENTIAL                                                                                 DIVITTORIO_WHATSAPP_00000128
